Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 1 of 72 PageID #:5




                     EXHIBIT 1
                                                Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 2 of 72 PageID #:6
                      Hearing Date: 11/29/2021 9:30 AM - 9:30 AM
                      Courtroom Number: 2305
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                                            2420 - Served By Publication     2421 - Served By Publication
                                            Summons - Alias Summons                                                  (03/15/21) CCG 0001 A

                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties

                                            Jadwiga Nowak


                                                                                   Plaintiff(s)

                                                                                                             2021CH03714
                                                                                                  Case No.
                                            Caliber Home Loans, Inc. and Caneel Group,
                                            LLC

                                                                              Defendant(s)
                                            Caliber Home Loans, Inc. do C T Corporation
                                            System, Registered Agent, 208 S. LaSalle St.,
                                            Ste. 814, Chicago, IL 60604

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one): C. Certified Mail       Sheriff Service C Alias
                                                                                        SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                                 THERE IS A FEE TO FILE YOUR APPEARANCE.
                                            FILING AN APPEARANCE: Your appearance date is NOT a court date. It is the deadline
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                                                          Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                            E-FILING: E-filing is now mandatory with limited exemptions. To e-File, you must first create an account with
                                            an e-Filing service provider. Visit http://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a
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                                            If you need additional help or have trouble e-Filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
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                                            will also need to provide the Defendant's birth.date.
                                            REMOTE APPEARANCE: You may be able to attend this court date by phone or video conference.
                                            This is called a "Remote Appearance". Call the Circuit Clerk at (312) 603-5030 or visit their website at www
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                                            Contact information for each of the Clerk's Office locations is included with this summons. The Clerk's office is
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                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with, endorsement
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                                            endorsed. This summons may not be served later than thirty (30) days after its date.

                                                                                                                            7/29/2021 4:35 PM IRIS Y. MARTINEZ
                                               Atty. No.: 47671                                            Witness date
                                               Pro Se 99500
                                            Name: Arthur C. Czaia
                                            Atty. for (if applicable):                                                     Iris Y Martine
                                            Plaintiff                                                     0 Service by Certified Mail:

                                            Address: 7521 N. Milwaukee Ave.                                       Date of Service:
                                                                                                            (To be inserted by officer on copy left with employer or other person)
                                            City: Niles

                                            State:   IL     Zip: 60714

                                            Telephone: 847-647-2106

                                            Primary Email: arthur@czajalawoffices.com




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                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
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                                            not have your case number, email the Plaintiff or Defendant's name for civil case pes, or the Defendant's name
                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
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                                            Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDatck-Dcookcounrycourt.com
                                                            CIVIL DIVISION                               Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3- ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                                Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycouri.com                      DISTRICT 4- MAYWOOD
                                            Gen. Info: (312) 603-5710                                    Court date EMAIL: 1)41CourtDateacookcountycourr.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                                                             DIVISION                                              DISTRICT 5- BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
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                                                              ChildSupCourtDate@cookcountycourt.corn
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                                            Gen. Info: (312) 603-6300                                                DISTRICT 6- MARKHAM

                                                        DOMESTIC VIOLENCE                                Court date EMAIL: D6CourtDate@cookcounty-court.com
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                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate(4;cookcountycourt.com
                                            Gen. Info: (312) 603-6441




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                                                Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 5 of 72 PageID #:9
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                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties

                                            Jadwiga Nowak


                                                                                   Plaintiff(s)

                                                                                                             2021CH03714
                                                                                                  Case No.
                                            Caliber Home Loans, Inc. and Caneel Group,
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                                                                              Defendant(s)
                                            Caliber Home Loans, Inc. do C T Corporation
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                                                                                                                                7/29/2021 4:35 PM IRIS Y. MARTINEZ
                                                  Atty. No.: 47671                                            Witness date
                                               fl Pro Se 99500
                                               Name: Arthur C. Czaja
                                               Atty. for (if applicable):                                                     Iris Y Martine
                                               Plaintiff                                                     0 Service by Certified Mail:

                                               Address: 7521 N. Milwaukee Ave.                               0 Date of Service:
                                                                                                                (To be inserted by officer on copy left with employer or other person)
                                               City: Niles

                                               State:   IL    zip: 60714

                                               Telephone: 847-647-2106

                                               Primary Email: arthur@czajalawoffices.com




                                                                      Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
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                                            not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
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                                            Gen. Info: (312) 603-6300                                               DISTRICT 6- MARKHAM

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                                             Chancery Division Civil Cover Sheet
                                             General Chancery Section                                                                                             (12/01/20) CCCH 0623

                                                                                    IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                       COUNTY DEPARTMENT,CHANCERY DIVISION

                                             jadwiga Nowak
                                                                                                         Plaintiff
                                                                               V.
                                                                                                                                  2021CH03714
                                                                                                                     Case No:
                                             Caliber Home Loans, Inc. and Caneel Group, LLC
                                                                                                       Defendant

                                                                                        CHANCERY DIVISION CIVIL COVER SHEET
                                                                                            GENERAL CHANCERY SECTION
                                             A Chancery Division Civil Cover Sheet - General Chancery Section shall be filed with the initial complaint in all actions filed in the General
                                             Chancery Section of Chancery Division. The information contained herein is for administrative purposes only. Please check the box in
                                             front of the appropriate category which best characterizes your action being filed.
                                             Only one (1.) case type may be checked with this cover sheet.

                                             0005   7 Administrative Review                                          0017     L.J Mandamus
                                             0001   .7..1 Class Action                                               0018     Li Ne Exeat
                                             0002   7 Declaratory Judgment                                           0019     7: Partition
                                             0004   7 Injunction                                                     0020     n   Quiet Title
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                                             0007     General Chancery                                               0022     Li Redemption Rights
                                             0010   I Accounting                                                     0023     H Reformation of a Contract
                                             0011 _J Arbitration                                                     0024     TI Rescission of a Contract
                                             0012 Li Certiorari                                                      0025     ri Specific Performance
                                             0013     Dissolution of Corporation                                     0026     Lj Trust Construction
                                             0014     Dissolution of Partnership                                     0050     0 Internet Take Down Action (Compromising Images)
                                             0015 _J Equitable Lien
                                             0016 TI interpleader                                                              TI Other (specify)

                                                Arm No.: 47671                         Pro Se 99500
                                                                                                                     Pro Se Only:       I have read and agree to the terms of the Clerk's
                                             Arty Name: Arthur C. Czaja
                                                                                                                                        Clerk's Office Electronic Notice Policy and
                                             Any. for: Plaintiff                                                                        choose to opt in to electronic notice from the
                                                                                                                                        Clerk's office for this case at this email address:
                                             Address: 7521 N. Milwaukee Ave.
                                                                                                                     Email:
                                             Gm, Niles                                    State:

                                             Zip: 60714
                                             Telephone: 847-647-2106
                                             Primary         arthur@czajalawoffices.com

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                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
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                                                                                                         2021CH03714
                                             JADWIGA NOWAK,
                                                                                                     Case No. 2021 CH03714                       14242915
                                                            Plaintiff,

                                             VS.


                                             CALIBER HOME LOANS,INC., and
                                             CANEEL GROUP,LLC,

                                                            Defendants.

                                                                            CLASS ACTION COMPLAINT

                                                   Plaintiff, Jadwiga Nowak ("Nowak), individually, and on behalf of all persons similarly

                                            situated, by her attorneys, for her complaint against Caliber Home Loans, Inc. ("Caliber") and

                                            Canedl Group, LLC ("Cancel"), states:

                                                                              NATURE OF THE ACTION

                                                   1.      Caliber, a default mortgage servicer, violated the Fair Debt Collection Practices

                                            Act, 15 U.S.C. §1692 et seq. ("FDCPA"), when it communicated information about debt to

                                            parties other than the consumer, the consumer's attorney, a consumer reporting agency, the

                                            creditor, the attorney of the creditor, or the attorney of the debt collector in connection with the

                                            collection of a consumer debt allegedly owed by Nowak, and those identified in the putative

                                            classes described infra.

                                                   2.      Cancel, a debt collector engaged by Caliber, violated the FDCPA when it

                                            communicated with Nowak and members of the putative class to collect a consumer debt and

                                            failed to provide notice as required by §1692g of the FDCPA.




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                                                   3.      Caneel violated the FDCPA when it falsely represented to Nowak that it could act

                                            as attorney and negotiate on behalf of Nowak to clear liens or judgment on her Home in violation
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                            of 15 U.S.C. §1692e(3) and 15 U.S.C. §1692e(10).

                                                   4.      Caneel violated the FDCPA when it failed to disclose that it was a debt collector

                                            in its communication with Nowak and otherwise failed to make proper disclosures to Nowak in

                                            its initial communication. 15 U.S.C. §1692e(11) and 15 U.S.C. §1692g.

                                                                                      THE FDCPA

                                                   5.      The FDCPA broadly prohibits unfair or unconscionable collection methods,

                                            conduct which harasses or abuses any debtor, and the use of any false or deceptive statements in

                                            connection with attempts to collect a debt.

                                                   6.      In enacting the FDCPA, Congress found that: "[t]here is abundant evidence of the

                                            use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

                                            debt collection practices contribute to the number of personal bankruptcies, to marital instability,

                                            to the loss ofjobs, and to invasions of individual privacy." 15 U.S.C. §1692(a).

                                                   7.      Because of this, courts have held that "the FDCPA's legislative intent emphasizes

                                            the need to construe the statute broadly, so that we may protect consumers against debt

                                            collectors' harassing conduct" and that "[t]his intent cannot be underestimated." Ramirez v. Apex

                                            Financial Management LLC,567 F.Supp.2d 1035, 1042 (N.D.I11. 2008).

                                                   8.      Among other things, the FDCPA prohibits debt collectors from disclosing

                                            consumer debt information to third parties without the consumer's consent. 15 U.S.C. §

                                            1692c(b).

                                                   9.      The FDCPA also mandates that consumers be given certain disclosures in

                                            communications sent by debt collectors. 15 U.S.C. § 1692g(a). The FDCPA prohibits debt




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                                            collectors from falsely representing that they are attorneys and prohibits the use of any false

                                            representation or deceptive means to collect or attempt to collect any debt or to obtain
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                            information concerning a consumer. 15 U.S.C. §1692e(3) and 15 U.S.C. §1692e(10).

                                                   10.     The FDCPA encourages consumers, through counsel, to act as "private attorneys

                                            general" to enforce the public policies and protect the civil rights expressed therein. Crabill v.

                                            Trans Union, LLC,259 F.3d 662, 666 (7th Cir. 2001).

                                                   1 1.    Nowak seeks to enforce these policies and civil rights which are expressed

                                            through the FDCPA on behalf of herself and other consumers with similar claims.

                                                                                   JURISDICTION

                                                   12.     Federal and state courts have concurrent jurisdiction of FDCPA actions. 15

                                            U.S.C. § 1692k(d).

                                                   13.    This Court has personal jurisdiction pursuant to 735 LLCS 5/2-209.

                                                   14.     Venue is proper pursuant to 735 ELCS 5/2-101.

                                                                                    THE PARTIES

                                                   15.    Nowak is a natural person, over 18-years-of-age, who at all times relevant resided

                                            in Cook County, Illinois.

                                                   16.    Caliber is a Delaware corporation which maintains its principal place of business

                                            in Texas.

                                                   17.    Caliber is a national mortgage servicer which regularly collects delinquent

                                            consumer mortgage debts from people in Illinois and throughout the nation.

                                                   18.    Caliber uses postal mail, an instrumentality of interstate commerce, within Illinois

                                            and across state lines throughout the United States, for its business, the principal purpose of




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                                              which is the collection of debts, and/or each regularly collects or attempts to collect, directly or

                                              indirectly, debts owed or due or asserted to be owed or due another.
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                                                      19.    The FDCPA does not just apply to third-party debt collection firms; the statute's

                                              broad definition of"debt collector" encompasses servicers of consumer and mortgage loans that

                                              do not acquire ownership of the underlying debt, but acquire servicing rights after the loan is in

                                              default. See 15 U.S.C. § 1692a(6)(F); Johnson v. Carrington Mortgage Servs., 638 F. App'x 523,

                                              524-25 (7th Cir. 2016)(stating that where a servicer begins servicing the mortgage loan after a

                                              default, it is a "debt collector" under the FDCPA and dismissing Nowak's FDCPA claim because

                                              servicer began servicing the loan while the mortgage loan was current); Schlosser v. Fairbanks

                                              Capital Corp., 323 F.3d 534,536-37 (7th Cir. 2003)(holding that servicer was a "debt collector"

                                              where the debt was not actually in default, but the servicer acquired it as a debt in default and its

                                              collection activities were based on that understanding).

                                                     20.     Caliber is a debt collector within the meaning of 15 U.S.C. § 1692a(6).

                                                     21.     Caneel is a Delaware limited liability company which maintains its principal

                                              place of business in New Jersey.

                                                     22.     Canedl works on behalf of default servicers and others to mitigate loss on non-

                                              performing consumer mortgage loans. Cancel communicates with consumers in Illinois and

                                              throughout the nation in attempting to collect debt for its default servicer clients.

                                                     23.     Cancel uses postal mail, an instrumentality of interstate commerce, within Illinois

                                              and across state lines throughout the United States, for its business, the principal purpose of

                                              which is the collection of debts, and/or each regularly collects or attempts to collect, directly or

                                              indirectly, debts owed or due or asserted to be owed or due another.




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                                                   24.     Caneel is a collection agency licensed in Illinois by the Illinois Department of

                                            Financial and Professional Regulation.
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                                                   25.     Caneel is a debt collector within the meaning of 15 U.S.C. § 1692a(6) because it

                                            communicated with Nowak on behalf of Caliber to collect the Loan and by representing to

                                            Nowak that the Loan debt could be satisfied through loss mitigation alternatives to foreclosure.

                                            Caneel was engaged by Caliber to assist Caliber to collect the Loan through negotiation of loss

                                            mitigation options. Such activity is debt collection within the meaning of the FDCPA. See

                                            Kaymark v. Bank of Am., N.A., 783 F.3d 168, 179 (3d Cir. 2015)("Nowhere does the FDCPA

                                            exclude foreclosure actions from its reach. On the contrary, foreclosure meets the broad

                                            definition of'debt collection' under the FDCPA, and it is even contemplated in various places in

                                            the statute." (citations omitted); Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211,

                                            1218 (11th Cir. 2012)("A communication related to debt collection does not become unrelated

                                            to debt collection simply because it also relates to the enforcement of a security interest.");

                                            Glazer v. Chase Home Finance LLC, 704 F. 3d 453 (6th Cir. 2013)("[M]ortgage foreclosure is

                                            debt collection under the FDCPA."); Wilson v. Draper & Goldberg, P.L.L.C., 443 F.3d 373 (4th

                                            Cir.2006) ("[A]ctions surrounding the foreclosure proceeding were attempts to collect that

                                            debt."); Kaltenbach v. Richards, 464 F.3d 524, 529 (5th Cir. 2006)("[A] party who satisfies §

                                            1692a(6)'s general definition of a 'debt collector' is a debt collector for the purposes of the entire

                                            FDCPA even when enforcing security interests."); Piper v. PortnoffLaw Assocs., Ltd., 396 F.3d

                                            227 (3d Cir.2005) ("[I]f a collector were able to avoid liability under the FDCPA simply by

                                            choosing to proceed in rem rather than in personam, it would undermine the purpose of the

                                            FDCPA."(citation omitted)(internal quotation marks omitted)).




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                                                    26.    At all times, Caneel acted within the scope of its authority as the authorized agent

                                            for Caliber.
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                                                    27.    Nowak owns a home located at 2617 North Monitor Avenue, Chicago, Illinois

                                            (the -Home"), which she acquired to occupy as a personal residence.

                                                    28.    In order to obtain money for personal, family and household purposes - the

                                            purchase of the Home - on February 7, 2003, Nowak borrowed money and executed a note in the

                                            amount of $130,000.00 payable to the America's Wholesale Lender (the "Note"). To secure

                                            payment of that Note, Nowak granted a contemporaneous mortgage lien on her Home (the

                                            "Mortgage"). The Note and Mortgage are collectively referred to herein as the "Loan." Copies

                                            of the Note and Mortgage are attached hereto as Exhibit 1.

                                                   29.     Caliber is the servicer for the Loan and acquired servicing after the Loan was

                                            alleged to be in default.

                                                    30.    On January 15, 2016, Ditech Financial, LLC, filed a foreclosure action in the

                                            Circuit Court of Cook County, Illinois (Case No. 2016-CH-00572, the "Foreclosure Case"), to

                                            collect the Loan from Nowak. After this Foreclosure Case was filed, Caliber became the servicer

                                            of the Loan.

                                                    31.    Nowak is a "consumer" as defined in 15 U.S.C. § 1692a(3) because she is a

                                            natural person from whom Caliber sought to collect a debt allegedly incurred for personal,

                                            family, or household purposes. Here, the debt is the Loan, and the purpose was to finance debt

                                            on the Home.

                                                                        ADDITIONAL FACTUAL ALLEGATIONS

                                                    32.    Once it became the servicer of the Loan, Caliber engaged Caneel to assist it in

                                            collection of the Loan.




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                                                    33.    Details regarding the debt allegedly owed by Nowak, including her status as a

                                            debtor, the fact that Nowak allegedly owed and was delinquent in the payment of the Loan, were
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                                            communicated and disclosed to Canedl by Caliber.

                                                    34.    The information about the debt allegedly owcd by Nowak that was communicated

                                            to others without authorization by Caliber to Camel was non-public, highly personal and

                                            sensitive, and otherwise of a nature that Nowak or any person would find disclosure to others to

                                            be intrusive and highly embarrassing.

                                                    35.    In a letter dated December 4, 2020, Caneel first communicated with Nowak on

                                            behalf of Caliber. A copy of this letter is attached as Exhibit 2.

                                                    36.    In the December 4 letter, Cancel communicated "options" for Nowak to keep her

                                            home,including loan modification, deed in lieu and cash for keys.

                                                    37.    Cancel sought to negotiate loss mitigation options with Nowak directly and

                                            without the involvement of her attorney of record in the Foreclosure Case.

                                                    38.    Exhibit 2 is signed by Todd Geweke, Loss Mitigator.

                                                    39.    In a letter dated February 10, 2021, Cancel again communicated with Nowak on

                                            behalf of Caliber. A copy of this letter is attached as Exhibit 3.

                                                    40.    In the February 10, 2021 letter, Cancel represented to Nowak that it could "assist

                                            ...with clearing any liens or judgments on your property."

                                                    41.    Exhibit 3 is signed by Tina Picucci, Loss Mitigator.

                                                    42.    Cancel and its employees are not attorneys and are not authorized to practice law

                                            in Illinois.

                                                    43.    Assisting a person to clear liens or judgment and negotiating the resolution of

                                            such claims on behalf of another constitutes the practice of law in Illinois.




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                                                   44.     Nowak did not consent to the disclosure of the information that Caliber

                                            communicated to Caneel to anyone by anyone.
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                                                   45.     The FDCPA defines "communication" at 15 U.S.C. § 1692a(3) as "the conveying

                                            of information regarding a debt directly or indirectly to any person through any medium."

                                                   46.     Caneel is not the consumer, or an attorney for the consumer. Caneel is also not a

                                            consumer reporting agency, the creditor, the attorney of the creditor, or the attorney of the debt

                                            collector.

                                                   47.     In limiting disclosures to third parties, the FDCPA states:

                                                          Except as provided in section 1692b of this title, without the prior
                                                          consent of the consumer given directly to the debt collector, or the
                                                          express permission of a court of competent jurisdiction, or as
                                                          reasonably necessary to effectuate a post judgment judicial remedy,
                                                          a debt collector may not communicate, in connection with the
                                                          collection of any debt, with any person other than the consumer, his
                                                          attorney, a consumer reporting agency if otherwise permitted by law,
                                                          the creditor, the attorney of the creditor, or the attorney of the debt
                                                          collector.(emphasis added).

                                            15 U.S.C. § 1692c(b).

                                                  48.      Section 1692c(b) applies to all communications that, in any way, "concern[]" or

                                            are "with reference to" a debt, and prohibits such communications to all third parties, minus only

                                            six enumerated exceptions.

                                                  49.      Caliber's use of an outside, third-party vendor, was undertaken in connection with

                                            collection of the Loan and that conduct does not fall within any permitted exception provided for

                                            in 15 U.S.C. § 1692c(b). Indeed, the information which was communicated to Caneel by Caliber

                                            did not just concern Nowak's alleged debt, it disclosed her status as a debtor, the fact that Nowak

                                            allegedly owed and was delinquent in the payment of the Loan, and the fact that Caliber sought

                                            to foreclose on the Home.



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                                                   50.     As a direct result of Caliber's conduct, information regarding a debt allegedly

                                            owed by Nowak was improperly conveyed to Caneel, and its many employees.
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                                                   51.     Upon learning of the improper disclosures, Nowak was embarrassed, humiliated

                                            and suffered great anxiety which manifested in the form of headache, sleeplessness, and stress

                                            related physical exhaustion.

                                                   52.     On information and belief, Caneel maintains databases of information on the

                                            mortgage loans for many consumers throughout the country and communicated with consumers

                                            on behalf of Caliber and other default mortgage servicers.

                                                   53.     Given widely circulated reports of recurrent database hacking, Nowak reasonably

                                            feared that the information about her alleged debt would be widely disclosed to others, possibly

                                            affecting her relationships with family, friends and employers and otherwise portraying her in a

                                            false light.

                                                   54.     When a debt collector "conveys information regarding the debt to a third party -

                                            informs the third party that the debt exists or provides information about the details of the debt -

                                            then the debtor may well be harmed by the spread of this information." Brown v. Van Ru Credit

                                            Corp., 804 F.3d 740, 743 (6th Cir. 2015). "[A] violation of § 1692c(b) gives rise to a concrete

                                            injury in fact under Article III [of the U.S. Constitution]." Hunstein v. Preferred Collection &

                                            Management Services, 994 F.3d 1341 (11th Cir. 2021).

                                                   55.     Indeed, Nowak was placed at great risk of imminent tangible injury, specifically

                                            data exploitation and compromise. Data such as that disclosed by Caliber to Caneel resides in

                                            computer databases which are now frequently hacked by malicious parties seeking to use such

                                            non-public information to their advantage and to the detriment of consumers like Nowak.

                                            Consumer data obtained from one source can be aggregated with information from other sources




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                                            to allow nefarious actors to exploit a consumer's information and otherwise intrude upon her

                                            right to privacy and seclusion.
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                                                  56.      The FDCPA provides that, if a "debt collector" makes an "initial communication

                                            with a consumer in connection with the collection of any debt," the debt collector must provide

                                            the consumer with certain information, such as the amount of the debt, the name of the creditor,

                                            the consumer's right to dispute the debt and seek validation See 15 U.S.C. § 1692g(a). This type

                                            of notice is commonly called a "validation notice." Durkin v. Equifax Check Servs., Inc., 406

                                            F.3d 410,412(7th Cir. 2005).

                                                  57.      The FDCPA requires that a debt collector disclose to a consumer that the debt

                                            collector is attempting to collect a debt and that any information will be used for that purpose in

                                            its initial communication with a debtor, and that in any subsequent communications state that the

                                            communication is from a debt collector. 15 U.S.C. § 1692e(I I).

                                                  58.      Caneel did not make the disclosures mandated by 15 U.S.C. § 1692e(11) and 15

                                            U.S.C. § 1692g(a) to Nowak in its December 4 or February 10 communications to Nowak.

                                                  59.      The FDCPA provides that a debt collector may not falsely represent that it is an

                                            attorney. See 15 U.S.C.§1692e(3).

                                                  60.      Caneel violated the FDCPA when it falsely represented that it could act as an

                                            attorney to "assist ...with clearing any liens or judgments on your property."

                                                                                    COUNT I: Caliber

                                                            [Fair Debt Collection Practices Act-15 U.S.C. § 1692 et seq]

                                                   61.     Nowak restates and incorporates by reference paragraphs 1 through 60.

                                                   62.     Nowak brings this action pursuant to 735 ILCS 5/2-801, individually, and on

                                            behalf of all others similarly situated ("Caliber Putative Class").




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                                                   63.     Caliber violated 15 U.S.C. § 1692c(b) when it disclosed information about alleged

                                            debt owed by Nowak and the Caliber Putative Class to Caneel and its employees.
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                                                   64.     Caliber's communication to others of the details of the debt allegedly owed by

                                            Nowak and members of the Caliber Putative Class constitutes an invasion of privacy, a harm

                                            which Congress found to be an animating purpose for enactment of the FDCPA.

                                                   65.     Caliber violated 15 U.S.C. § 1692f by using unfair means in connection with the

                                            collection of a debt, to wit, knowingly disclosing sensitive non-public information about an

                                            alleged debt owed Nowak and the Caliber Putative Class to third parties when not authorized to

                                            disclose that information to any third-party.

                                                   66.     Caliber violated 15 U.S.C. §1692e by using false representation or deceptive

                                            means to collect or attempt to collect. Caliber used an agent, Caneel, to represent that Caneel

                                            could act as Nowak's attorney to negotiate the resolution ofjudgments and junior liens to allow

                                            Caliber to collect the Loan without proceeding with a foreclosure case.

                                                   67.     Caliber engaged in the conduct described infra with purpose, namely to

                                            streamline and automate its collection activities and to gain a competitive advantage over other

                                            debt collectors who complied with the FDCPA,and not as a result of bona fide error.

                                                   68.     Pursuant to 15 U.S.C. § 1692k, Nowak and the Caliber Putative Class are entitled

                                            to actual damages, statutory damages, attorneys' fees and costs.

                                                                                CLASS ALLEGATIONS

                                                   69.     The Caliber Putative Class is defined as follows: (a) all individuals (b) who were

                                            alleged to be obligated for a consumer debt (c) who had information regarding the debt (either

                                            that the debt exists or the details of that debt), conveyed by Caliber to a third party without the

                                            consumer's express consent within one year of the filing of this action.




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                                                     70.     The following individuals are excluded from the Putative Class: (1) any Judge

                                              presiding over this action and members of their families; (2) Caliber, Caliber's subsidiaries,
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                                              parents, successors, predecessors, and any entity in which Caliber or their parents have a

                                              controlling interest and their current or former employees, officers and directors; (3) Nowalc's

                                              attorneys; (4) persons who properly execute and file a timely request for exclusion from the

                                              Caliber Putative Class; (5) the legal representatives, successors or assigns of any such executed

                                              persons; and (6) persons whose claims against Caliber have been fully and filially adjudicated

                                              and/or released.

                                                     71.     Numerosity. Upon information and belief, Caliber conveyed consumer debt

                                              information like that contained in the Notice and Demand for Possession to a third party no less

                                              than 40 times without the consent of the consumer.

                                                     72.     The exact number of members of the Caliber Putative Class are unknown and not

                                              available to Nowak at this time, but it is clear that individual joinder is impracticable.

                                                     73.     Members of the Caliber Putative Class can be objectively identified from records

                                              of Caliber to be gained in discovery.

                                                     74.     Commonality and Predominance. There are many questions of law and fact

                                              common to the claims of Nowak and the Caliber Putative Class, and those questions predominate

                                              over any questions that may affect individual members of the Caliber Putative Class. Those

                                              common questions include: whether the conveying information regarding the alleged consumer

                                              debt allegedly owed by Nowak and class members violated the FDCPA.

                                                     75.     Typicality. Nowak's claims are representative of the claims of other members of

                                              the Caliber Putative Class.




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                                                   76.     Nowak's claims are typical of members of the Caliber Putative Class because

                                            Nowak and members of the Caliber Putative Class are entitled to statutory damages as result of
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                                            Caliber's conduct.

                                                   77.     Superiority and Manageability. This case is also appropriate for class

                                            certification as class proceedings are superior to all other available methods for the efficient and

                                            fair adjudication of this controversy.

                                                   78.     The actual damages suffered by the individual members of the Caliber Putative

                                            Class will likely be relatively small, if any, and would not be worth pursuing on an individual

                                            basis especially given the burden and expense required for individual prosecution.

                                                   79.     By contrast, a class action provides the benefits of single adjudication, economies

                                            of sc-ale, and comprehensive supervision by a single court.

                                                   80.     Economies of effort, expense, and time will be fostered and uniformity of

                                            decisions ensured.

                                                   81.     Adequate Representation. Nowak will adequately and fairly represent and

                                            protect the interests of the Caliber Putative Class.

                                                   82.     Nowak has no interests antagonistic to those of the Caliber Putative Class, and

                                            Caliber has no defenses unique to Nowak.

                                                   83.     Nowak has retained competent and experienced counsel with substantial

                                            experience in consumer law.

                                                   84.     Pursuant to 15 U.S.C. § 1692k(a)(1), Nowak and members of the class are

                                            entitled to recover actual damages from Caliber.

                                                   85.     Pursuant to 15 U.S.C. § 1692k(a)(2)(A), Nowak and members of the class are

                                            entitled to recover from Caliber statutory damages of up to $1,000.




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                                                   86.     Pursuant to 15 U.S.C. §1692k(a)(3), Nowak and members of the class are entitled

                                            to recover from Caliber costs and reasonable attorneys' fees incurred in this action.
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                                                    WHEREFORE, Nowak prays for the entry of judgment in favor of herself and the

                                            Caliber Putative Class and against Caliber for:

                                                   a.      A finding that the conduct of Caliber as alleged herein is unlawful and violates the

                                            FDCPA and certifying a class as describes infra;

                                                   b.      Awarding Nowak and the class statutory damages of $1,000 each pursuant to 15

                                            U.S.C. § 1692k(a)(2)(A);

                                                   c.      Awarding Nowak and the class actual damages, in an amount to be proven up at a

                                            later date, pursuant to 15 U.S.C. § 1692k(a)(1);

                                                   d.      Awarding Nowak and the class costs and reasonable attorney fees as provided

                                            under 15 U.S.C. §1692k(a)(3); and

                                                   e.      Awarding any other relief as this Court deems just and appropriate.

                                                                            COUNT II: Caliber and Caneel

                                                            [Fair Debt Collection Practices Act-15 U.S.C. § 1692 et seq]

                                                   87.     Nowak restates and incorporates by reference paragraphs 1 through 60.

                                                   88.     Nowak brings this action pursuant to 735 ILCS 5/2-801, individually, and on

                                            behalf of all others similarly situated ("Caneel Putative Class").

                                                   89.     Caneel violated the FDCPA when it communicated with Nowak and members of

                                            the putative class to collect a consumer debt and failed to provide notice as required by §1692g

                                            of the FDCPA.




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                                                    90.    Caneel violated the FDCPA when it falsely represented to Nowak that it could act
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                                            as attorney and negotiate on behalf of Nowak to clear liens or judgment on her Home in violation

                                            of 15 U.S.C. §1692e(3) and 15 U.S.C. §1692e(10).

                                                   91.     Caneel violated the FDCPA when it failed to disclose that it was a debt collector

                                            in its communication with Nowak and otherwise failed to make proper disclosures to Nowak in

                                            its initial communication. 15 U.S.C. §1692e(11) and 1,5 U.S.C. §1692g.

                                                   92.     Caneel engaged in the conduct described infra with purpose, namely to streamline

                                            and automate its collection activities and to gain a competitive advantage over other debt

                                            collectors who complied with the FDCPA, and not as a result of bona fide error.

                                                   93.     Caliber is liable vicariously for the actions of its agent, Caneel.

                                                   94.     Pursuant to 15 U.S.C. § 1692k, Nowak and the Caneel Putative Class are entitled

                                            to actual damages, statutory damages, attorneys' fees and costs.

                                                                                CLASS ALLEGATIONS

                                                   95.     A subclass of the Caneel Putative Class ("Caneel Subclass One") is defined as

                                            follows: (a) all individuals (b) who were alleged to be obligated for a consumer debt (c) with

                                            whom Caneel communicated without disclosing that it was a debt collector and without making

                                            disclosures required by 15 U.S.C. §1692g within one year of the filing of this action.

                                                   96.     A subclass of the Caneel Putative Class ("Caneel Subclass Two") is defined as

                                            follows: (a) all individuals (b) who were alleged to be obligated for a consumer debt (c) with

                                            whom Caneel communicated and represented that it could take actions on behalf of the consumer

                                            that constituted the unauthorized practice of law. within one year of the filing of this action.

                                                   97.     The following individuals are excluded from the Caneel Putative Class: (1) any

                                            Judge presiding over this action and members of their families; (2) Caneel or Caliber or the s




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                                             subsidiaries, parents, successors, predecessors, and any entity in which Caneel or Caliber or their

                                            parents have a controlling interest and their current or former employees, officers and directors;
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                                            (3) Nowak's attorneys;(4) persons who properly execute and file a timely request for exclusion

                                            from the Caneel Putative Class; (5) the legal representatives, successors or assigns of any such

                                            executed persons; and (6) persons whose claims against Caneel or Caliber have been fully and

                                            finally adjudicated and/or release.

                                                    98.     Numerosity. Upon information and belief, Caneel conveyed consumer debt

                                            information about consumer mortgage debts to a third party no less than 40 times without the

                                            consent of the consumer.

                                                    99.     The exact number of members of the Caneel Putative Class are unknown and not

                                            available to Nowak at this time, but it is clear that individual joinder is impracticable.

                                                    100.    Members of the Caneel Putative Class can be objectively identified from records

                                            of Caliber and Caneel to be gained in discovery.

                                                    101.    Commonality and Predominance. There are many questions of law and fact

                                            common to the claims of Nowak and the Caneel Putative Class, and those questions predominate

                                            over any questions that may affect individual members of the Caneel Putative Class. Those

                                            common questions include: whether the conveying information regarding the alleged consumer

                                            debt allegedly owed by Nowak and class members violated the FDCPA.

                                                    102.   Typicality. Nowak's claims are representative of the claims of other members of

                                            the Caneel Putative Class.

                                                    103.   Nowak's claims are typical of members of the Caneel Putative Class because

                                            Nowak and members of the Caneel Putative Class are entitled to statutory damages as result of

                                            the conduct alleged.




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                                              Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 25 of 72 PageID #:29
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                                                    104.   Superiority and Manageability. This case is also appropriate for class

                                            certification as class proceedings are superior to all other available methods for the efficient and
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                            fair adjudication of this controversy.

                                                    105.   The actual damages suffered by the individual members of the Caneel Putative

                                            Class will likely be relatively small, if any, and would not be worth pursuing on an individual

                                            basis especially given the burden and expense required for individual prosecution.

                                                    106.   By contrast, a class action provides the benefits of single adjudication, economies

                                            of scale, and comprehensive supervision by a single court.

                                                    107.   Economies of effort, expense, and time will be fostered and uniformity of

                                            decisions ensured.

                                                   108.    Adequate Representation. Nowak will adequately and fairly represent and

                                            protect the interests of the Caneel Putative Class.

                                                   109.    Nowak has no interests antagonistic to those of the Caneel Putative Class, and

                                            neither Caliber nor Cancel has defenses unique to Nowak.

                                                   1 10.   Nowak has retained competent and experienced counsel with substantial

                                            experience in consumer law.

                                                   1 11.   Pursuant to 15 U.S.C. § 1692k(a)(1), Nowak and members of the class are entitled

                                            to recover actual damages from Caliber and Caneel.

                                                   112.    Pursuant to 15 U.S.C. § 1692k(a)(2)(A), Nowak and members of the class are

                                            entitled to recover from Caliber and Caneel statutory damages of up to $1,000.

                                                   1 13.   Pursuant to 15 U.S.C. §1692k(a)(3), Nowak and members of the class are entitled

                                            to recover from Caliber and Caneel costs and reasonable attorneys' fees incurred in this action.




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                                                   WHEREFORE, Nowak prays for the entry of judgment in favor of herself and the

                                            Caneel Putative Class and against Caliber and Caneel for:
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                                   a.      A finding that the conduct of Caliber and Caneel as alleged herein is unlawful and

                                            violates the FDCPA and certifying a class as describes infra;

                                                   b.      Awarding Nowak and the class statutory damages of $1,000 each pursuant to 15

                                            U.S.C. § 1692k(a)(2)(A);

                                                   c.      Awarding Nowak and the class actual damages, in an amount to be proven up at a

                                            later date, pursuant to 15 U.S.C. § 1692k(a)(1);

                                                   d.      Awarding Nowak and the class costs and reasonable attorney fees as provided

                                            under 15 U.S.C. §1692k(a)(3); and

                                                   e.      Awarding any other relief as this Court deems just and appropriate

                                                                     DOCUMENT PRESERVATION DEMAND

                                                   Nowak hereby demands that all Defendants take affirmative steps to preserve all

                                            recordings, data, documents, and all other tangible things that relate to Nowak, the events

                                            described herein, any third party associated with any telephone call, campaign, account, sale or

                                            file associated with Nowak, and any account or number or symbol relating to them. These

                                            materials are likely very relevant to the litigation of Nowak's claims. If any Defendant is aware

                                            of any third party that has possession, custody, or control of any such materials, Nowak demands

                                            that such Defendant request that such third party also take steps to preserve the materials. This

                                            demand shall not narrow the scope of any independent document preservation duties of any

                                            Defendant.




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                                            DATED: July 29, 2021                Respectfully submitted,
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                                                                JADWIGA NOWAK

                                                                               /s/Arthur Czaja
                                                                                Arthur Czaja
                                                                                LAW OFFICE OF ARTHUR CZAJA
                                                                                7521 N. Milwaukee Ave.
                                                                                Niles, Illinois 60714
                                                                               (847)647-2106
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                                                                                Attorney No. 47671

                                                                                Rusty A. Payton
                                                                                PAYTON LEGAL GROUP,LLC
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                                                                                Attorney No. 39459

                                                                                Joseph S. Davidson
                                                                                LAW OFFICES OF JOSEPH P. DOYLE LLC
                                                                                105 South Roselle Road, Suite 203
                                                                                Schaumburg, Illinois 60193
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                                                                               jdavidson@fightbills.com
                                                                                Attorney No: 65455

                                                                                Counselfor Nowak and the Putative Classes




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                                              Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 28 of 72 PageID #:32
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                                                               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                  COUNTY DEPARTMENT — CHANCERY DIVISION
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                             JADWIGA NOWAK, individually, and
                                             on behalf of all others similarly situated,

                                                  Plaintiff,

                                             V.                                                    Case No. _

                                             CALIBER HOME LOANS,INC. and
                                             CANEEL GROUP,LLC,

                                                  Defendants.

                                                     AFFIDAVIT PURSUANT TO ILLINOIS SUPREME COURT RIME 222(b)

                                                    Pursuant to Illinois Supreme Court Rule 222(b), counsel for the above-named Plaintiff

                                            certifies that Plaintiff is seeking money damages in excess of Fifty Thousand and 00/100 Dollars

                                            ($50,000.00).

                                             DATED: July 29, 2021                              Respectfully submitted,

                                                                                               By: /s/Arthur C. Czaja

                                             Arthur Czaja
                                             Law Office of Arthur Czaja
                                             7521 N. Milwaukee Ave.
                                             Niles, Illinois 60714
                                            (847)647-2106
                                             arthur@czajalawoffices.com
                                             Attorney No. 47671

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                                             info@payton.legal
                                             Attorney No. 39459

                                             Joseph S. Davidson
                                             Law Offices of Joseph P. Doyle LLC


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                                             Schaumburg, Illinois 60193
                                            (847)985-1100
FILED DATE: 7/29/2021 4:35 PM 2021CH33714




                                            jdavidson@fightbills.com
                                             Attorney No: 65455




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MS SV-79 DOCUMENT PROCESSING                                                       REDACTED
1800 Tapo Canyon
Simi Valley, CA 93063-6712

Prepared By:
K. FREDERICK


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1011 WARRENVILLE RD. #115
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                                              ORTGAGE




DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3,
11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in
Section 16.

(A)."Security Instrument" means this document, which is dated FEBRUARY 07          2003        ,together with
 all Riders to this document.




ILLINOIS -Single Family-FannleMae/FreddieMacUNIFORMINSTRUMENTWITH MERS
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4:11:140-6A(IL)(0010)01   CHL(11/01)   VMP MORTGAGE FORMS -(500)521-7291                      Form 9014 1/01
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                                     (B)"Borrower" is
                                     JADWIGA NOWAK, ZENON NOWAK, HER HUSBAND, AS JOINT TENANTS
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                                     Borrower is the mortgagor under this Security Instrument.
                                    (C)"MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
                                     solely as a nominee for Lender and Lender's successors and assigns. MERS is the mortgagee under this
                                     Security Instrument. MERS is organized and existing under the laws of Delaware, and has an address and
                                     telephone number ofP.O. Box 2026,Flint, MI 4850/-2026, tel.(888)679-MERS.
                                    (D)"Lender" is
                                     AMERICA'S WHOLESALE LENDER
                                     Lender is a CORPORATION
                                     organized and existing under the laws of NEW YORK
                                     Lender's address is
                                       P.O. Box 660694, Dallas, TX 75266-0694
                                    (E)"Note" means the promissory note signed by Borrower and dated FEBRUARY 07 2003                    .The
                                     Note states that Borrower owes Lender
                                     ONE HUNDRED THIRTY THOUSAND and 00/100
                                     Dollars(U.S.$       130 000.00         ) plus interest. Borrower has promised to pay this debt in regular
                                     Periodic Payments and to pay the debt in full not later than MARCH 01 2033
                                    (F) "Property" means the property that is described below under the heading "Transfer of Rights in the
                                     Property."
                                    (G)"Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
                                     under the Note,and all sums due under this Security Instrument, plus interest.
                                    (H)"Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
                                     Riders are to be executed by Borrower [check box as applicable]:

                                     El Adjustable Rate Rider CI Condominium Rider           El Second Home Rider
                                        Balloon Rider        0Planned Unit Development Rider LI 1-4 Family Rider
                                        VA Rider              El Biweekly Payment Rider       X Other(s)[specify]
                                                                                             0

                                   (I)"Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances
                                    and administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable
                                    judicial opinions.
                                   (J) "Community Association Dues, Fees, and Assessments" means all dues, fees; assessments and other
                                    charges that are imposed on Borrower or the Property by a condominium association, homeowners association
                                    or similar organization.
                                   (K)"Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check,
                                    draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
                                    computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
                                    account. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine transactions,
                                    transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
                                   (L)"Escrow Items" means those items that are described in Section 3.
                                   (M)"Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by
                                    any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)

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                                        a,

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          damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property;
        (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
;
cr
0         condition of the Property.
0       (N)"Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
,S
csi1     Loan.
        (0)"Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
2
a.       Note,plus (ii) any amounts under Section 3 of this Security Instrument.
        (P)"RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
         implementing regulation, Regulation X(24 C.F.R. Part 3500), as they might be amended from time to time, or
         any additional or successor legislation or regulation that governs the same subject matter. As used in this
cn       Security Instrument, 'RESPA" refers to all requirements and restrictions that are imposed in regard to a
        "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan" under
         RESPA.
a       (Q)"Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not
         that party has assumed Borrower's obligations under the Note and/or this Security Instrument

         TRANSFER OF RIGHTS IN THE PROPERTY
         This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
         modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this
         Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and
         convey to MFRS (solely as nominee for Lender and Lender's successors and assigns) and to the successors and
         assigns of MERS,the following described property located in the
         COUNTY                                              of COOK
                     [Type of Recording Jurisdiction]                      [Name of Recording Jurisdiction]

         SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF.




        Parcel ID Number                                                             which currently has the address of
        2617 NORTH MONITOR AVENUE, CHICAGO
                                                  [Street/City]
        Illinois 60639        ("Property Address"):
                   [Zip Code]

             TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
        appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
        covered by this Security Instrument All of the foregoing is referred to in this Security Instrument as the
        "Property." Borrower understands and agrees that MERS holds only legal title to the interests granted by
        Borrower in this Security Instrument, but, if nerPssary to comply with law or custom, MERS (as nominee for
        Lender and Lender's successors and assigns) has the right: to exercise any or all of those iqterets, including,

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                                                but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender
                                                including, but not limited to, releasing and canceling this Security Instrument.
                                                     BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
                                                right to mortgage, grant and convey the Property and that the Property is unencumbered, except for
                                                encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
                                                claims and demands,subject to any encumbrances of record.
                                                     THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
                                                covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
                                                property.

                                                   UNIFORM COVENANTS.Borrower and Lender covenant and agree as follows:
                                                   1.Payment of Principal, Interest, Escrow Items,Prepayment Charges,and Late Charges. Borrower
                                             shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment
                                             charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to
                                             Section 3. Payments due under the Note and this Security Instrument shall be made in U.S. currency. However,
                                             if any check or other instrument received by Lender as payment under the Note or this Security Instrument is
                                             returned to Lender unpaid,Lender may require that any or all subsequent payments due under the Note and this
                                             Security Instrument be made in one or more of the following forms,as selected by Lender:(a)cash;(b) money
                                             order;(c)certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn
                                             upon an institution whose deposits are insured by a federal agency, instrumentality, or entity; or(d)Electronic
                                             Funds Transfer.
                                                   Payments are deemed received by Lender when received at the location designated in the Note or at such
                                             other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender
                                             may return any payment or partial payment if the payment or partial payments are insufficient to bring the Loan
                                             current. Lender may accept any payment or partial payment insufficient to bring the Loan current, without
                                             waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in the
                                            future, but Lender is not obligated to apply such payments at the time such payments are accepted. If each
                                            Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on =applied funds.
                                            Lender may hold such =applied funds until Borrower makes payment to bring the Loan current If Borrower
                                             does not do so within a reasonable period of time, Lender shall either apply such funds or return them to
                                             Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under the Note
                                            immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future against
                                            Lender shall relieve Borrower from making payments due under the Note and this Security Instrument or
                                            performing the covenants and agreements seared by this Security Instrument
                                                  2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
                                            accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
                                            Note;(b) principal due under the Note;(c) amounts due under Section 3. Such payments shall be applied to
                                            each Periodic Payment in the order in which it became due. Any remaining amounts shall be applied fast to late
                                            charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
                                            balance of die Note.
                                                  If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
                                            sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
                                            late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
                                            Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full.
                                            To the extent that any excess exists after the payment is applied to the full payment of one or more Periodic
                                            Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be applied first to
                                            any prepayment charges and then as described in the Note.


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                                        Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under tile
                                  Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                                        3.Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
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                                   the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a)
                                  taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
                                  encumbrance on the Property;(b)leasehold payments or ground rents on the Property,if any;(c)premiums for
                                  any and all insurance required by Lender under Section 5;and(d) Mortgage Insurance premiums,if any,or any
                                  sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in accordance
                                  with the provisions of Section 10. These items are called "Escrow Items." At origination or at any time during
                                  the term of the Loan,Lender may require that Community Association Dues,Fees,and Assessments,if any,be
                                  escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly
                                  furnish to Lender all notices of amounts to be paid under this Section. Borrower shall tray Lender the Funds for
                                  Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items.
                                  Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow Items at any time. Any
                                  such waiver may only be in writing. In the event of such waiver, Borrower shall pay directly, when and where
                                  payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender and,if
                                  Lender requires, shall furnish to Lender receipts evidencing such payment within such time period as Lender
                                  may require. Borrower's obligation to make such payments and to provide receipts shall for all purposes be
                                  deemed to be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and
                                  agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver,
                                  and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
                                  and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
                                  amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
                                  accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such
                                  amounts,that are then required under this Section 3.
                                        Lender may,at any time, collect and hold Funds in an amount(a) sufficient to permit Lender to apply the
                                 Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require
                                  under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable
                                 estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
                                        The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
                                 or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
                                 Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
                                 RESPA_ Lender shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow
                                 account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law
                                 permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law requires
                                 interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings on the
                                 Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender
                                 shall give to Borrower, without charge,an annual accounting of the Funds as required by RESPA.
                                       If there is a surplus of Funds held in escrow, as defined under RESPA,Lender shall account to Borrower
                                 for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined
                                 under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
                                 amount necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly
                                 payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender Chall• notify
                                 Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
                                 deficiency in accordance with RESPA,but in no more than 12 monthly payments.
                                       Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
                                 Borrower any Funds held by Lender.


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                                                  4
                                                  .    Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
                                              attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
                                              ground rents on the Property, if any, and Community Association Dues,Fees,and Assessments,if any. To the
                                             extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
                                                    Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
                                              Borrower (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
                                             Lender, but only so long as Borrower is performing such agreement;(b)contests the lien in good faith by,or
                                              defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
                                             enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded;
                                             or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the hen to this
                                             Security Instrument. If Lender determines that any part of the Property is subject to a lien which can attain
                                             priority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10
                                             days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the
                                             actions set forth above in this Section 4.
                                                   Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
                                             service used by Lender in connection with this Loan.
                                                   5.Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
                                             Property insured against loss by fire, hazards included within the term "extended coverage," and any other
                                             hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance. This
                                             insurance shall be maintained in the amounts (including deductible levels) and for the periods that Lender
                                             requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
                                             The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
                                             disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require
                                             Borrower to pay, in connection with this Loan, either (a) a one-time charge for flood zone determination,
                                             certification and tracking services; or (b) a one-time charge for flood zone determination and certification
                                             services and subsequent charges each time remappings or similar changes occur which reasonably might
                                             affect such determination or certification. Borrower shall also be responsible for the payment of any fees
                                             imposed by the Federal Emergency Management Agency in connection with the review of any flood zone'
                                             determination resulting from an objection by Borrower.
                                                   If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
                                            coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
                                             particular type or amount of coverage. Therefore, such coverage chill cover Lender, but might or might not
                                             protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk, hazard
                                            or liability and might provide greater or lesser coverage than was previously in effect. Borrower
                                            acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
                                            insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
                                            become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at
                                            the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender
                                            to Borrower requesting payment.
                                                   All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
                                            right to disapprove such policies, chalI include a standard mortgage clause, and shall name Lender as
                                            mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
                                            certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
                                            renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
                                            damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and shall
                                            name Lender as mortgagee and/or as an additional loss payee.



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                                                   In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
                                              make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
                                              writing, any insurance proCeeds, whether or not the underlying insurance was required by Lender, shall be
                                              applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
                                             Lender's security is not lessened. During such repair and restoration period, Lender shall have the right to
                                              hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work
                                             has been completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly.
                                             Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
                                             payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires
                                             interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or
                                             earnings on such proceMs. Fees for public adjusters, or other third parties, retained by Borrower shall not be
                                             paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is
                                             not economically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to
                                             the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
                                             Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                                                   If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
                                             and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance
                                             carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will
                                             begin when the notice is given. In either event, or if Lender acquires the Property under Section 22 or
                                             otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount
                                             not to exceed the amounts unpaid under the Note or this Security Instrument,and (b)any other of Borrower's
                                             rights (other than the right to any refund of unearned premiums paid by Borrower) under all insurance
                                             policies covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
                                             may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the
                                             Note or this Security Instrument, whether or not then due.
                                                  6.Occupancy. Borrower shall occupy,establish, and use the Property as Borrower's principal residence
                                             within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
                                             Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise
                                            agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances
                                            exist which are beyond Borrower's control.
                                                  7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
                                            destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
                                            Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
                                            the Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to
                                            Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property if
                                            damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in
                                            connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
                                            restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
                                            for the repairs and restoration in a single payment or in a series of progress payments as the work is
                                            completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
                                            Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.
                                                  Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
                                            reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
                                            Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.




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                                                      8.Borrower's Loan Application. Borrower shall be in default if, during the Loan application process.
                                                Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
                                                consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed to
                                                provide Lender with material information) in connection with the Loan. Material repreaentations include, but
                                                are not limited to, representations concerning Borrower's occupancy of the Property as Borrower's principal
                                                residence.
                                                      9.Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If
                                              (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument,(b)there is
                                                a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this
                                                Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
                                                enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
                                                regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
                                                reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
                                               Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
                                                the Property. Lender's actions can include, but are not limited to:(a)paying any sums secured by a lien which
                                                has priority over this Security Instrument;(b) appearing in court; and (c)paying reasonable attorneys' fees to
                                                protect its interest in the Property and/or rights under this Security Instrument, including its secured position
                                               in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
                                                make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate
                                                building or other code violations or dangerous conditions, and have utilities turned on or off. Although
                                               Lender may take action under this Section 9, Lender does not have to do so and is not under any duty or
                                               obligation to do so. It is agreed that Lender incurs no liability for not taking any or all actions authorized
                                               under this Section 9.
                                                      Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
                                               secured by this Security Instrument. These amounts qhall bear interest at the Note rate from the date of
                                               disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
                                               payment.
                                                     If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
                                               If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender
                                               agrees to the merger in writing.
                                                     10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
                                              Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
                                               the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
                                               previously provided such insurance and Borrower was required to make separately designated payments
                                              toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
                                              substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to
                                              the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer
                                              selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall
                                              continue to pay to Lender the amount of the separately designated payments that were due when the insurance
                                              coverage ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable loss
                                              reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that
                                              the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings
                                              on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in
                                              the amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes
                                              available,is obtained,and Lender requires separately designated payments toward the premiums for Mortgage

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                      Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
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                      required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower
                      shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
                      reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any written agreement
                      between Borrower and Lender providing for such termination or until termination is required by Applicable
                      Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
                             Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
                      incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
                             Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
                      enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements are
                      on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
                      agreements. These agreements may require the mortgage insurer to make payments using any source of funds
                      that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
                      premiums).
                             As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
                      other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive
                      from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange
                      for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement provides that an
                      affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to the
                      insurer, the arrangement is often termed "captive reinsurance." Further
                          (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
                      Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
                      Borrower will owe for Mortgage Insurance,and they will not entitle Borrower to any refund.
                           (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
                      Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law.These rights may
                     include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
                     Insurance,to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
                      Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.
                            11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
                     assigned to and shall be paid to Lender.
                            If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
                     Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
                     such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
                     Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
                     satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and
                     restoration in a single disbursement or in a series of progress payments as the work is completed. Unless an
                     agreement is made in writing or Applicable Law requires interest to be-paid on such Miscellaneous Proceeds,
                     Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the
                     restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous
                     Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
                     excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in
                     Section 2.
                           In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
                     shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
                     any,paid to Borrower.


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                                                     In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
                                                value of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
                                                than the amount of the sums secured by this Security Instrument immediately before the partial taking,
                                               destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this
                                               Security Instrument shall be reduced by the amount of the Miscellaneous ProrPPds multiplied by the
                                               following fraction:(a)the total amount of the sums secured immediately before the partial taking, destruction,
                                               or loss in value divided by (b) the fair market value of the Property immediately before the partial taking,
                                               destruction, or loss in value. Any balance shall be paid to Borrower.
                                                     In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
                                               value of the Property immediately before the partial taking, destruction, or loss in value is less than the
                                               amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
                                               Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
                                              secured by this Security Instrument whether or not the sums are then due.
                                                     If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
                                              Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails
                                               to respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and
                                               apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
                                              Security Instrument, whether or not then due. "Opposing Party" means the third party that owes Borrower
                                               Miscellaneous Proceeds or the party against whom &UMW:has a right of action in regard to Miscellaneous
                                              Proceeds.
                                                     Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
                                              Lender's judgment,could result in forfeiture of the Property or other material impairment of Lender's interest
                                              in the Property or rights under this Security Instrument. Borrower can cure such a default and,if acceleration
                                              has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a
                                              ruling that, in Lender's judgment, precludes forfeiture of the Property or other material impairment of
                                              Lender's interest in the Property or rights under this Security Instrument The proceeds of any award or claim
                                             for damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned
                                              and shall be paid to Lender.
                                                    All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
                                              in the order provided for in Section 2.
                                                    12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
                                              payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
                                              to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or
                                             any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
                                             Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
                                             of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or
                                             any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
                                             including, without limitation, Lender's acceptance of payments from third persons, entities or Successors in
                                             Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the
                                             exercise of any right or remedy.
                                                    13.Joint and Several Liability; Co-signers; Successors and Assigns Bound.Borrower covenants and
                                             agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
                                             co-signs this Security Instrument but does not execute the Note (a "co-signer"):(a)is co-signing this Security
                                             Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the terms of this
                                             Security Instrument (b) is not personally obligated to pay the sums secured by this Security Instrument and
                                            (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
                                             accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
                                             consent
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                              Subject to the provisions of Section 18,any Successor in Interest of Borrower who assumes Borrower's
                         obligations under this Security Instnnnent in writing, and is approved by Lender, shall obtain all of
                         Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
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                        Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
                         writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
                        20)and benefit the successors and assigns of Lender.
                              14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
                        Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
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                        Security Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees. In
                        regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee
                        to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees
                        that are expressly prohibited by this Security Instrument or by Applicable Law.
                              If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
                        that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
                        permitted limits, then:(a)any such loan charge shall be reduced by the amount necessary to reduce the charge
                        to the permitted limit, and (b) any sums already collected from Borrower which exceeded permitted limits
                        will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under
                        the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
                        treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
                        provided for under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower
                        will constitute a waiver of any right of action Borrower might have arising out of such overcharge.
                              IS. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
                        be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
                        been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
                        address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
                        Applicable Law expressly requires otherwise. The notice address shall be the Property Address unless
                       Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
                       Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
                       address, then Borrower shall only report a change of address through that specified procedure. There may be
                       only one designated notice address under this Security Instrument at any one time. Any notice to Lender shall
                       be given by delivering it or by mailing it by first class mall to Lender's address stated herein unless Lender
                       has designated another address by notice to Borrower. Any notice in connection with this Security Instrument
                       shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
                       this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
                       the corresponding requirement under this Security Instrument
                             16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
                       by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
                      contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
                      Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
                      such silence shall not be construed as a prohibition against agreement by contract. In the event that any
                      provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall
                      not affect other provisions of this Security Instrument or the Note which can be given effect without the
                      conflicting provision.
                             As used in this Security Instrument (a) words of the masculine gender shall mean and include
                      corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
                      include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take
                      any action.

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                                                    17. Borrower's Copy.Borrower shall be given one copy of the Note and of this Security Instrument.
                                                    18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
                                             "Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
                                              those beneficial interests transferred in a bond for deed, contract for deed,installment sales contract or escrow
                                              agreement,the intent of which is the transfer of title by Borrower at a future date to a purchaser.
                                                   If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
                                              not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
                                              consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
                                              However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
                                                   If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
                                              provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
                                              within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
                                             sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
                                             Instrument without further notice or demand on Borrower.
                                                   19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
                                             Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time prior
                                             to the earliest of:(a)five days before sale of the Property pursuant to Section 22 of this Security Instrument
                                            (b) such other period as Applicable Law might specify for the termination of Borrower's right to reinstate; or
                                            (c) entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower (a) pays
                                             Lender all sums which then would be due under this Security Instrument and the Note as if no acceleration
                                             had occurred; (b) cures any default of any other covenants or agreements;(c) pays all expenses incurred in
                                             enforcing this Security Instrument, including, but not limited to, reasonable attorneys' fees, property
                                             inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's interest in the
                                             Property and rights under this Security Instrument and (d) takes such action as Lender may reasonably
                                             require to assure that Lender's interest in the Property and rights under this Security Instrument, and
                                             Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged unless
                                             as otherwise provided under Applicable Law. Leader may require that Borrower pay such reinstatement sums
                                             and expenses in one or more of the following forms, as selected by Lender (a) cash;(b) money order,(c)
                                            certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon an
                                            institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds
                                             Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shall
                                            remain fully effective as if no acceleration had occurred. However,this right to reinstate shall not apply in the
                                             case of acceleration under Section 18.
                                                  20. Sale of Note; Change of Loan Servicer; Notice of Grievance.The Note or a partial interest in the
                                            Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower.
                                            A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments
                                            due under the Note and this Security Instrument and performs other mortgage loan servicing obligations
                                            under the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of
                                            the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Services, Borrower will be
                                            given written notice of the change which will state the name and address of the new Loan Servicer, the
                                            address to which payments should be made and any other information RESPA requires in connection with a
                                            notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other
                                            than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the
                                            Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the Note purchaser
                                            unless otherwise provided by the Note purchaser.



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                                                   Neither Borrower nor Lender may commence,join, or be joined to any judicial action as either an
                                             individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
                                             Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of,
                                             this Security Instrument, until such Borrower or Lender has notified the other party(with such notice given in
                                             compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
                                             reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a time
                                             period which must elapse before certain action can be taken, that time period will be deemed to be reasonable
                                             for purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant
                                             to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to
                                             satisfy the notice and opportunity to take corrective action provisions of this Section 20.
                                                   21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
                                             substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
                                            following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
                                             herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b)
                                            "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that relate
                                             to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response action,
                                            remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
                                             means a condition that can cause,contribute to, or otherwise trigger an Environmental Cleanup.
                                                   Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
                                            Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
                                             nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
                                            Law,(b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
                                            Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding two
                                            sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
                                            Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of
                                            the Property (including, but not limited to, hazardous substances in consumer products).
                                                   Borrower shall promptly give Lender written notice of(a) any investigation, claim, demand,lawsuit or
                                            other action by any governmental or regulatory agency or private party involving the Property and any
                                            Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
                                            Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
                                            release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
                                            Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by
                                            any governmental or regulatory authority, or any private party, that any removal or other remediation of any
                                            Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary remedial
                                            actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender.for an
                                            Environmental Cleanup.

                                                  NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                                                  22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
                                            Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
                                            acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify:(a)
                                            the default;(b) the action required to cure the default;(c) a date, not less than 30 days from the date
                                            the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
                                            default on or before the date specified in the notice may result in acceleration of the sums secured by
                                            this Security Instrument, foreclosure by judicial proceeding and sale of the Property. The notice shall



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             further inform Borrower of the right to reinstate after acce
             foreclosure proceeding the non-existence of a default or any other defense of Borrower to acceleration
             and foreclosure. If the default is not cured on or before the date specified in the notice, Lender at its
 c7,         option may require immediate payment in full of all sums secured by this Security Instrument without
 cs,         further demand and may foreclose this Security Instrument by judicial proceeding. Lender shall be
        •    entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including,
 2
 a_           but not limited to, reasonable attorneys' fees and costs of title evidence.
 co                23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
             Security Instrument Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
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0            releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
C
             charging of the fee is permitted under Applicable Law.
 C                 24. Waiver of Homestead.In accordance with thinois law, the Borrower hereby releases and waives all
             rights under and by virtue of the Lllinois homestead exemption laws.
                   25.Placement of Collateral Protection Insurance. Unless Borrower provides Lender with evidence of
             the insurance coverage required by Borrower's agreement with Lender, Lender may purchase insurance at
0            Borrower's expense to protect Lender's interests in Borrower's collateral. This insurance may, but need not,
             protect Borrower's interests. The coverage that Lender purchases may not pay any claim that Borrower makes
             or any claim that is made against Borrower in connection with the collateral. Borrower may later cancel any
             insurance purchased by Lender, but only after providing Lender with evidence that Borrower has obtained
             insurance as required by Borrower's and Lender's agreement If Lender purchases insurance for the
             collateral, Borrower will be responsible for the costs of that insurance, including interest and any other
             charges Lender may impose in connection with the placement of the insurance, until the effective date of the
             cancellation or expiration of the insurance. The costs of the insurance may be added to Borrower's total
             outstanding balance or obligation. The costs of the insurance may be more than the cost of insurance
             Borrower may be able to obtain on its own.
                  BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
             Security Instrument and in any Rider executed by Borrower and recorded with it.

             Witnesses:


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                                                                                                                        (Seal)
                                                                                                                 -Borrower



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                                                                                                                 -Borrower




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FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                             STATE OF ILLJOIS,                                                           County ss:
                                                                                                               ,a Notary Public in and for said county
                                             and stale do hereby,certify that




                                             personally known to me to be the same person(s) whose name(s) subscribed to the foregoing instrument,
                                             appeared before me this day in person, and acknowledged that he/she/they signed and delivered the said
                                             instrument as his/her/their free and voluntary act,for the w and purposes there' set forth.
                                                  Given under my hand and official seal, this 1--   )       ,day of                     6 0.3


                                             My Co         ion
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                                              Case 15-07292          Doc 10-2    Filed 04/03/15 Entered 04/03/15 11:Min
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                                            Prepared by: K. FREDERICK
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                                                        AMERICA'S WHOLESALE LENDER
                                                                               BRANCH #995
                                                                               1011 WARRENVILLE RD. #115
                                            DATE:           02/07/2003         LISLE, IL 60532-
                                            CASE #:                            (630)969-7600
                                            DOC ID #:       .11.1.111111       Br Fax No.: (630)852-5700
                                            BORROWER:
                                            PROPERTY ADDRESS:2617 NORTH MONITOR AVENUE
                                                             CHICAGO, IL. 60639
                                                                 LEGAL DESCRIPTION EXHIBIT A




                                            FHA/VA/CONV
                                            Legal Description Exhibit A
                                            104041XX(11/02)




                                                                                                                          303658'73
                                Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 49 of 72 PageID #:53
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                                       CHICAGO TITLE INSURANCE COMPANY
   :35 PM 2021CH037




                        CGUDERNIBABER: 1409 ST5043974 NWA
                        STREET ADDRESS: 2617 N MONITOR AVE
                        CITY: CHICAGO                   COUNTY: COOK
                        TAX NUMBER:
                        LEGAL DESCRIPTION:
FILED DATE: 7/29/202




                        LOT 14 IN BLOCK 8 IN TITLEY'S SUBDIVISION OF LOT 1 IN THE CIRCUIT COURT
                        PARTITION OF THE WEST 1/2 OF THE SOUTHEAST 1/4 (EXCEPT THE SOUTH 33 1/3 ACRES
                        THEREOF) AND OF THE NORTH 1/2 OF THE SOUTHWEST 1/4 (EXCEPT THE SOUTH 33 1/3
                        ACRES THEREOF) OF SECTION 29, TOWNSHIP 40 NORTH, RANGE 13, EAST OF THE THIRD
                        PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.




                                                                                                  30365873



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                                               NIB                            02/11/03




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                                             A               CANEEL
                                                                      G ROUP


                                            December 4, 2020
FILED DATE: 7/29/2021 4:35 PM 2021CH03714




                                            JADWIGA NOWAK
                                            2617 N MONITOR AVE
                                            CHICAGO, ILO

                                            Re: Loan Number              0909)
                                            2617 N MONITOR AVE
                                            CHICAGO, IL 60619


                                            Dear JADWIGA NOWAK,

                                            Caliber Home Loans (Caliber), your mortgage servicer, would like to inform you your loan might be eligible for one of the following loss mitigation
                                            programs — Pre-Approved Loan Modification, Underwritten Loan Modification, Deed in Lieu of Foreclosure (DIL), or Cash for Keys (CFK). Caneel Group,
                                            LLC is working on behalf of Caliber to assist you with one of the above options.

                                            If you wish to keep your home, a pre-approved loan modification might be available. Call us to see if you loan qualifiesl This option saves you time and
                                            effort because a completed hardship application is not required for the modification.

                                            If you are interested in moving on from your property, the OIL or CFK program may be a good alternative to foreclosure. The potential benefits are

                                                 >       A cash incentive to assist with your relocation and resolution of any liens or judgements on your property
                                                 D       Relief by resolving your debt for good

                                            To take advantage of one of these options or obtain additional information, please call (800)632-6977 and reference your loan number(9804920909).

                                            If you want to confirm with Caliber that Caneel Group, LLC is authorized to provide these offers to you, please feel free to contact Caliber Home Loans'
                                            Customer Service Department at 1-800-401-6587. Caliber's business hours are 8 a.m. to 9 p.m., Central Time, Monday through Thursday; 8 a.m. to 7
                                            p.m., Central Time, Friday and 7 a.m. to 4 p.m., Central Time on Saturday.

                                            Note: There is no guarantee that you will qualify for a foreclosure alternative. Foreclosure activity will not cease until a foreclosure alternative agreement
                                            has been approved. Caneel is not a debt collector, does not engage in collection practices, and is not attempting to collect payments. Caliber has
                                            retained Caneel solely fry the purposes of assisting you with the loss mitigation process.

                                            Sincerely,



                                            Todd Geweke
                                            Loss Mitigator




                                            Caneel Group, LLC
                                            59 N. Lakeview Dr. Gibbsboro, NJ, 08026

                                            tel. 800.632.6977
                                            fax. 856.504.6991
                                            email info@caneelgroup.com
                                            web www.caneelgroup.com
FILED DATE: 7/29/2021 4:35 PM 2021CI-:03714   Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 52 of 72 PageID #:56
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                                             A            CANEEL
                                                            G ROUP
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                                             February 10, 2021


                                            Jadwiga Nowak
                                            2617 N Monitor Ave
                                            Chicago IL 60639

                                            Re: Loan Number           0909
FILED DATE: 7/29/2021 ,




                                            2617 N Monitor Ave
                                            Chicago IL 60639

                                            Dear Jadwiga Nowak,

                                            This letter is being sent to you as a follow up after our previous conversation regarding your property at 2617 N Monitor Ave Chicago IL 60659. Caneel
                                            Group, LLC is working on behalf of your mortgage servicer, Caliber Home Loans (Caliber), to assist you with working towards a Deed In Lieu of
                                            Foreclosure (DIL). If you want to confirm with Caliber that Caneel Group, LLC (Caneel) is authorized to work with you, contact Caliber using the
                                            information located on the last bullet point.

                                            The information below will highlight the steps involved in the DIL process and explain the benefits of accepting a DIL.


                                                  • In exchange for your cooperation we are authorized to offer you a Deed in Lieu (DIL) incentive of $5,000.00 (Five Thousand Dollars and
                                                    Zero Cents)to assist you with clearing any liens or judgements on your property. Any funds left over after all liens have been addressed
                                                    can be used to assist you with relocation.
                                                  • Please note, this incentive offer will be rescinded immediately if a foreclosure sale date on the above referenced property is scheduled.
                                                  • A title company will begin research to locate any potential title issues that may need to be resolved prior to the completion of the DIL.
                                                    Caneel can assist you with working towards a settlement of any liens on your property. A clear title (no liens or judgments against the
                                                    property) is required before the DIL process can complete. Caliber will cover the cost of recording the DIL paperwork upon completion.
                                                  • You will need to provide a projected move out date and leave the property in a broom swept, bring to market condition.
                                                  • Upon successful completion of the DIL process, Caliber will provide you with documentation stating you have been released from your
                                                    mortgage obligation. This prevents you from receiving a deficiency judgment for not paying the loan in full. Any funds you may be
                                                    eligible for will be provided to you once the DIL paperwork has been recorded and confirmation obtained that the property is vacant
                                                    and in good condition.
                                                    There may be tax consequences because of a short or negotiated payoff. You are encouraged to contact a tax professional to identify any
                                                    tax liabilities you may have.
                                                    The Deed in Lieu incentive is a limited time offer contingent upon verbal acceptance to move forward with the process no later than
                                                    February 19, 2021.
                                                    If you have any questions for Caliber, please contact Caliber Home Loans' Customer Service Department at 1-800-401-6587. Caliber's
                                                    business hours are 8 a.m. to 9 p.m., Central Time, Monday through Thursday;8 a.m. to 7 p.m., Central Time, Friday and 7 a.m. to 4 p.m.,
                                                    Central Time on Saturday.

                                              Caneel is not a debt collector, does not engage in collection practices, and is not attempting to collect payments. Caliber has retained Caneel solely
                                              for the purposes of assisting you with the DIL process. The procedure for the DIL process are established by Caliber and must be followed to ensure
                                              eligibility for the DIL incentive.

                                            Sincerely,



                                            Tina Picucci
                                            Loss Mitigator II



                                            Caneel Group, LLC
                                            59 N. Lakeview Dr. Gibbsboro, NJ, 08026

                                            tel. 800.632.6977
                                            fax. 856.504.6991
                                            email info@caneelgroup.com
                                            web www.caneelgroup.com
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                                                                7/30/2021 11:27 AM
                   IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                CIRCUIT CLERK
                      COUNTY DEPARTMENT — CHANCERY DIVISION
                                                                COOK COUNTY, IL
                                                                2021CH03714
JADWIGA NOWAK, individually, and
on behalf of all others similarly situated,                                            14251102

      Plaintiff,

v.                                                      Case No. 2021-CH-03714

CALIBER HOME LOANS,INC. and                             Calendar 11
CANEEL GROUP,LLC,

      Defendants.

                                     NOTICE OF FILING

To:       Caliber Home Loans, Inc., do C T Corporation System, Registered Agent, 208 S. LaSalle
          St., Ste. 814, Chicago, IL 60604

          Camel Group, LLC,do Illinois Corporation Service C, Registered Agent, 801 Adlai
          Stevenson Dr., Springfield, EL 62703

       PLEASE TAKE NOTICE that on July 30, 2021, the Plaintiff, Jadwiga Nowak, by and
through her attorneys, Joseph Davidson, Arthur C. Czaja and Payton Legal Group, electronically
filed and served the Clerk of the Circuit Court of Cook County, Illinois the PLAINTIFF'S
MOTION TO CLASS CERIFICATION, a copy of which is attached hereto and hereby served
upon you.

Is!Joseph S. Davidson
Joseph S. Davidson
LAW OFFICES OF JOSEPH P. DOYLE LLC
105 South Roselle Road, Suite 203
Schaumburg, Illinois 60193
+1 847-985-1100
jdavidson@fightbills.com
Attorney No: 65455

Arthur C. Czaja
LAW OFFICE OF ARTHUR C. CZAJA
7521 North Milwaukee Avenue
Niles, Illinois 60714
+1 847-647-2106
arthur@czajalawoffices.com
Attorney No: 47671

                                              Page 1 of 2
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                                             Rusty A. Payton
                                             PAYTON LEGAL GROUP LLC
FILED DATE: 7/30/2021 11:27 AM 2021CH03714




                                             4422 North Ravenswood Avenue
                                             Chicago, Illinois 60640
                                             +1 773-682-5210
                                             info@payton.legal
                                             Attorney No. 39459


                                                                             CERTIFICATE OF SERVICE

                                                    The undersigned, an attorney, certifies that on July 30, 2021 he caused a true and correct
                                             copy of this Notice and the enclosed PLAINTIFF'S MOTION TO CLASS CERIFICATION to
                                             be served upon the party(ies) listed above, by attaching a copy of this Notice and enclosed
                                             PLAINTIFF'S MOTION TO CLASS CERIFICATION by postage prepaid first-class mail to
                                             the parties identified above at the mailing addresses identified hereinabove from 105 South
                                             Roselle Road, Suite 203, Schaumburg, Illinois 60193.

                                             Is!Joseph S. Davidson
                                             Joseph S. Davidson
                                             LAW OFFICES OF JOSEPH P. DOYLE LLC
                                             105 South Roselle Road, Suite 203
                                             Schaumburg, Illinois 60193
                                             +1 847-985-1100
                                             jdavidson@fightbills.com
                                             Attorney No: 65455




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                   IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                CIRCUIT CLERK
                      COUNTY DEPARTMENT — CHANCERY DIVISION     COOK COUNTY, IL
                                                                2021CH03714
 JADWIGA NOWAK, individually, and
 on behalf of all others similarly situated,                                                 14251102

      Plaintiff,

 V.                                                       Case No. 2021-CH-03714

 CALIBER HOME LOANS,INC. and
 CANEEL GROUP,LLC,                                        Calendar 11

      Defendants.

                             MOTION FOR CLASS CERTIFICATION

        NOW COMES,Plaintiff, JADWIGA NOWAK,individually, and on behalf of all others

similarly situated, through undersigned counsel, pursuant to 735 ILCS 5/2-801 et seq., moving the

Court order Count I of this action, alleging violation of Fair Debt Collection Practices Act, 15

U.S.C. §1692 et seq.("FDCPA"),to proceed on class basis against Defendants, CALIBER HOME

LOANS,INC. and CANEEL GROUP,LLC (collectively, the "Defendants"), as follows:

                     1692c(b) Class: All natural persons residing in the State ofIllinois (a)
                   whose personal information was communicated by Caliber Home Loans to
                   Caneel Group; (b) within the one (1) year preceding the date of this
                   complaint through the date ofclass certification,. and(c) in connection with
                   the collection ofa consumer debt.

                   4 1692e(10) Class: All natural persons residing in the State ofIllinois (a)
               who received letter(s)from Caneel Group;(b)falsely representing that they
               were able to take certain actions on behalfofconsumers;(c) within the one
               (1) year preceding the date of this complaint through the date of class
               certification; and (d) in connection with the collection ofa consumer debt.

                     1692e(11) Class: All natural persons residing in the State ofIllinois (a)
                   who received letter(s)from Caneel Group;(b) that Nfailed to disclose that
                   Caneel Group was attempting to collect a debt and that any information
                   obtained will be usedfor thatpurpose; or (ii)failed to disclose that Caneel
                                                    1
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                                                            Group is a debt collector;(c) within the one (1) year preceding the date of
                                                            this complaint through the date ofclass certification,. and (d) in connection
FILED DATE: 7/30/2021 11:27 AM 2021CH03714




                                                            with the collection ofa consumer debt.

                                                            4 16922(a) Class: All natural persons residing in the State ofIllinois (a)
                                                            who received an initial written communicationfrom Caneel Group;(b) that
                                                           failed to provide disclosures setforth in 15 U.S.C. § 1692g(a); (c) within
                                                            the one (1) year preceding the date of this complaint through the date of
                                                            class certification; and (d) in connection with the collection ofa consumer
                                                            debt.

                                                    The following individuals are excluded from the Putative Class: (1) any Judge presiding

                                             over this action and members of their families;(2) Defendants, Defendants subsidiaries, parents,

                                             successors, predecessors, and any entity in which Defendants or their parents have a controlling

                                             interest and their current or former employees, officers and directors;(3) Plaintiffs attorneys;(4)

                                             persons who properly execute and file a timely request for exclusion from the Putative Class;(5)

                                             the legal representatives, successors or assigns of any such executed persons; and (6) persons

                                             whose claims against Defendants have been fully and finally adjudicated and/or released.

                                                    In support thereof, Plaintiff states as follows:

                                                                               FACTUAL ALLEGATIONS

                                                    1.      JADWIGA NOWAK ("Plaintiff') is a natural person, over 18-years-of-age, who at

                                             all times relevant resided at 2617 North Monitor Avenue, Chicago, Illinois 60639.

                                                    2.      Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3).

                                                    3.      CALIBER HOME LOANS, INC., ("Caliber Home Loans") is a corporation

                                             organized and existing under the laws of the state of Delaware.

                                                    4.      Caliber Home Loans uses instrumentalities of interstate commerce and the mail in

                                             its business — the principal purpose of which is the collection of debt owed or due or asserted to be


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                                             owed or due another. Accordingly, Caliber Home Loans is a "debt collector" as defined by 15

                                             U.S.C. § 1692a(6).
FILED DATE: 7/30/2021 11:27 AM 2021CH03714




                                                      5.    CANEEL GROUP,LLC("Caneel Group")is a limited liability company organized

                                             and existing under the laws of the state of Delaware.

                                                      6.    Caneel Group uses instrumentalities of interstate commerce and the mail in its

                                             business — the principal purpose of which is the collection of debt owed or due or asserted to be

                                             owed or due another.

                                                      7.    Caneel Group is registered as a collection agency with the Illinois Department of

                                             Financial and Professional Regulation.

                                                      8.    Accordingly, Caneel Group is a "debt collector" as defined by 15 U.S.C. §

                                             1692a(6).

                                                      9.    On February 7, 2003, Plaintiff executed a mortgage in favor of America's

                                             Wholesale Lender (the "Mortgage").

                                                      10.   The Mortgage secured the purchase ofPlaintiffs personal residence located at 2617

                                             North Monitor Avenue, Chicago, Illinois 60639 (the "Property").

                                                      11.   The Mortgage secured the repayment of the indebtedness evidenced by a

                                             promissory note (the "Note") in the amount of $130,000.00 (the "Loan").

                                                      12.   Plaintiff defaulted on the Mortgage by failing to make monthly payments.

                                                      13.   The servicing of the Mortgage, was subsequently transferred to Caliber Home

                                             Loans.

                                                      14.   Caliber Home Loans engaged Caneel Group to "assist" Plaintiff with working

                                             towards a Deed In Lieu of Foreclosure.



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                                               Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 59 of 72 PageID #:63
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                                                    15.      Caliber Home Loans communicated to Cancel Group certain information about

                                             Plaintiff, including:(1) Plaintiffs name and address;(2)that Plaintiff owed debt;(3) the entity to
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                                             whom Plaintiff owed a debt;(4)the exact balance of Plaintiffs Loan;(5)that Plaintiffs Loan is in

                                             default; and (6)that Plaintiffs Loan is being collected by a debt collector.

                                                    16.      Caneel Group mailed Plaintiff a letter, dated February 10, 2021 (the "Letter"),

                                             which stated:

                                                             Dear Jadwiga Nowak,

                                                             This letter is being sent to you after our previous conversation regarding your property at
                                                             2617 N Monitor Ave Chicago IL 60659. Caneel Group, LLC is working on behalf of your
                                                             mortgage servicer, Caliber Home Loans (Caliber), to assist you with working towards a
                                                             Deed in Lieu of Foreclosure (DIL). If you want to confirm with Caliber that Caneel Group,
                                                             LLC (Caneel) is authorized to work with you, contact Caliber using the information located
                                                             on the last bullet point.

                                                             The information below will highlight the steps involved in the DIL process and explain the
                                                             benefits of accepting a DIL.

                                                                • In exchange for your cooperation we are authorized to offer you a Deed in Diu
                                                                  (DIL) incentive of $5,000.00 (Five Thousand Dollars and Zero Cents) to assist you
                                                                  with clearing any liens or judgments on your property. Any funds left over after
                                                                  all liens have been addressed can be used to assist you with relocation.
                                                                • Please note,this incentive offer will be rescinded immediately if a foreclosure sale
                                                                  date on the above referenced property is scheduled.
                                                                • A title company will begin research to locate any potential title issues that may
                                                                  need to be resolved prior to the completion of the DIL. Caneel can assist you with
                                                                  working towards a settlement of any liens on your property. A clear title (no liens
                                                                  or judgments against the property) is required before the DIL process can
                                                                  complete. Caliber will cover the cost of recording the DIL paperwork upon
                                                                  completion.
                                                                • You will need to provide a projected move out date and leave the property in a
                                                                  broom swept, bring to market condition.
                                                                • Upon successful completion of the DIL process, Caliber will provide you with
                                                                  documentation stating you have been released from your mortgage obligation.
                                                                  This prevents you from receiving a deficiency judgment for not paying the loan in
                                                                  full. Any funds you may be eligible for will be provided to you once the DIL
                                                                  paperwork has been recorded and confirmation obtained that the property is
                                                                  vacant and in good condition.
                                                                1 There may be tax consequences because of a short or negotiated payoff. You are
                                                                  encouraged to contact a tax professional to identify any tax liabilities you may
                                                                  have.
                                                                • The Deed in Lieu incentive is a limited time offer contingent upon verbal
                                                                  acceptance to move forward with the process no later than February 19, 2021.

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                                               Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 60 of 72 PageID #:64
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                                                                     If you have any questions for Caliber, please contact Caliber Home Loans'
                                                                     Customer Service Department at 1-800-401-6587. Caliber's business hours are 8
                                                                     a.m. to 9 p.m., Central Time, Monday through Thursday; 8 a.m. to 7 p.m., Central
FILED DATE: 7/30/2021 11:27 AM 2021CH03714




                                                                     Time, Friday and 7 a.m. to 4 p.m., Central Time on Saturday.

                                                            Caneel is not a debt collector, does not engage in collection practices, and is not attempting
                                                            to collect payments. Caliber has retained Caneel solely for the purposes of assisting you
                                                            with the DIL process. The procedure for the DIL process are established by Caliber and
                                                            m ust be followed to ensure eligibility for the DIL incentive.

                                                            Sincerely,

                                                            Tina Picucci
                                                            Loss Mitigator II

                                                            Caneel Group, LLC

                                                                                      NATURE OF CLAIMS

                                                    17.     Section 1692c provides:

                                                                   (b) Communication with third parties. Except as provided in section
                                                                    1692b of this title, without the prior consent ofthe consumer given directly
                                                                    to the debt collector, or the express permission of a court of competent
                                                                   jurisdiction, or as reasonably necessary to effectuate a postjudgmentjudicial
                                                                    remedy, a debt collector may not communicate, in connection with the
                                                                    collection of any debt, with any person other than the consumer, his
                                                                    attorney, a consumer reporting agency if otherwise permitted by law, the
                                                                    creditor, the attorney of the creditor, or the attorney of the debt collector.

                                                    18.     Caliber Home Loans' transmittal of Plaintiffs information to Caneel Group

                                             constitutes a "communication" as defined by 15 U.S.C. § 1692a(2).

                                                    19.     Caliber Home Loans' communication with Caneel Gorup was in connection with

                                             the collection of Plaintiffs Loan.

                                                    21.     Specifically, Caliber Home Loans' communication with Caneel Group included

                                             specific details regarding Plaintiffs Loan:(1)Plaintiffs status as a debtor;(2) the precise amount

                                             ofPlaintiffs Loan;(3)the entity to which Plaintiffs Loan was owed,inter alia, violating 15 U.S.C.

                                             §1692c(b).

                                                    20.     Section 1692e provides:
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                                               Case: 1:21-cv-04599 Document #: 1-1 Filed: 08/27/21 Page 61 of 72 PageID #:65
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                                                                     A debt collector may not use any false, deceptive, or misleading
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                                                                     representation or means in connection with the collection of any
                                                                     debt. Without limiting the general application of the foregoing, the
                                                                     following conduct is a violation of this section.

                                                                            (10)     The use of any false representation or deceptive
                                                                                     means to collect or attempt to collect any debt or to
                                                                                     obtain information concerning a consumer.

                                                                            (11)     The failure to disclose in the initial written
                                                                                     communication with the consumer and, in addition,
                                                                                     if the initial communication with the consumer is
                                                                                     oral, in that initial oral communication, that the debt
                                                                                     collector is attempting to collect a debt and that any
                                                                                     information obtained will be used for that purpose,
                                                                                     and the failure to disclose in subsequent
                                                                                     communications that the communication is from a
                                                                                     debt collector, except that this paragraph shall not
                                                                                     apply to a formal pleading made in connection with
                                                                                     a legal action.

                                                     21.     The Letter stated: "Caneel can assist you with working towards a settlement of any

                                             liens on your property."

                                                     22.     In Illinois, assisting individuals to "clear liens" or "negotiating settlement" requires

                                             the skill of an attorney and constitutes the practice of law.

                                                     23.      Caneel Group and its employees are not attorneys; therefore, are not licensed to

                                             practice in Illinois.

                                                     24.     The Letter falsely represented Caneel Group is permitted to "clear liens" or

                                             "negotiate settlement" when they weren't, violating 15 U.S.C. § 1692e(10).

                                                     25.     Under section 1692e(11), a debt collector must disclose certain information in

                                             communicating with consumers.

                                                     26.     An initial communication must state that "the debt collector is attempting to collect

                                             a debt and that any information obtained will be used for that purpose." 15 U.S.C. § 1692e(11).

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                                                    27.     In addition, all subsequent communications must disclose "that the communication

                                             is from a debt collector."
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                                                    28.     The Letter stated: "This letter is being sent to you as a follow up after our previous

                                             conversation regarding your property at 2617 N Monitor Ave Chicago IL 60659."

                                                    29.     Accordingly, as a subsequent communication, the Letter must disclose "that the

                                             communication is from a debt collector:"

                                                    30.     The Letter, however, failed to disclose that the Letter is from a debt collector;

                                             violating 15 U.S.C. § 1692e(11).

                                                    31.     Section 1692g(a) provides:

                                                           (a) Within five days after the initial communication with a consumer in
                                                            connection with the collection of any debt, a debt collector shall, unless the
                                                           following information is contained in the initial communication or the
                                                            consumer has paid the debt, send the consumer a written notice containing—

                                                                   (1)      the amount of the debt;

                                                                   (2)      the name of the creditor to whom the debt is owed;

                                                                   (3)     a statement that unless the consumer, within thirty days after
                                                                           receipt ofthe notice, disputes the validity ofthe debt, or any
                                                                           portion thereof, the debt will be assumed to be valid by the
                                                                           debt collector;

                                                                   (4)      a statement that if the consumer notifies the debt collector
                                                                           in writing within the thirty-day period that the debt or any
                                                                           portion thereof, is disputed, the debt collector will obtain
                                                                           verification of the debt or a copy of a judgment against the
                                                                           consumer and a copy of such verification or judgment
                                                                           against the consumer and a copy of such verification or
                                                                           judgment will be mailed to the consumer by the debt
                                                                           collector; and

                                                                   (5)      a statement that, upon the consumer's written request within
                                                                           the thirty-day period, the debt collector will provide the
                                                                           consumer with the name and address ofthe original creditor,
                                                                           if different from the current creditor.

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                                                     32.    The disclosures set forth in 15 U.S.C. § 1692g(a), frequently referred to as the
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                                             "validation notice," are required in the initial communication of all debt collection attempts.

                                                    33.     The validation notice provisions were included by Congress to ensure that

                                             consumers would receive notice of their legal rights.

                                                    34.     Caneel Group violated 15 U.S.C. § 1692g(a) by failing to provide the mandatory

                                             validation notice as required by 15 U.S.C. § 1692g(a).

                                                    35.     The Letter and similar letters sent to putative class members violated 15 U.S.C. §§

                                             1692e. and 1692g.

                                                                 THE FAIR DEBT COLLECTION PRACTICES ACT

                                                    36.     The FDCPA was enacted in part "to eliminate abusive debt collection practices by

                                             debt collectors . . . ." 15 U.S.C. § 1692(e). The statute is designed to protect consumers from

                                             unscrupulous collectors, regardless of the validity of the debt. Mace v. Van Ru Credit Corp., 109

                                             F.3d 338, 341 (7th Cir. 1997)citing Baker v. G.C. Servs. Corp., 677 F.2d 775,777(9th Cir. 1982).

                                             The FDCPA broadly prohibits:(1)unfair or unconscionable collection methods,(2)conduct which

                                             harasses, oppresses, or abuses any debtor, and (3) any false, deceptive, or misleading statements

                                             in connection with the collection of a debt. 15 U.S.C. § 1692d-f.

                                                    37.     In enacting the FDCPA, Congress recognized the "universal agreement among

                                             scholars, law enforcement officials, and even debt collectors that the number of persons who

                                             willfully refuse to pay just debts is minuscule.... [The] vast majority of consumers who obtain

                                             credit fully intend to repay their debts. When default occurs, it is nearly always due to an

                                             unforeseen event such as unemployment, overextension, serious illness, or marital difficulties or

                                             divorce." 95 S.Rep. 382, at 3(1977), reprinted in 1977 U.S.C.C.A.N. 1695, 1697.


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                                                    38.    The FDCPA's legislative intent emphasizes the need to construe the statute broadly,

                                            so that we may protect consumers against debt collectors' harassing conduct. This intent cannot
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                                             be underestimated. Ramirez v. Apex Fin. Mgmt., LLC,567 F.Supp.2d 1035, 1042(N.D. III. 2008);

                                            see also Sonmore v. CheckRite Recovery Services, Inc., 187 F.Supp.2d 1128, 1132(D. Minn. 2001)

                                            ("The FDCPA is a remedial strict liability statute which was intended to be applied in a liberal

                                             manner;" Picht v. Hawks, 77 F. Supp. 2d 1041, 1043 (D. Minn. 1999), affd, 236 F.3d 446 (8th

                                            Cir. 2001). "Proof of deception or actual damages is not necessary to make a recovery under the

                                            FDCPA."Id.); Owens v. Hellmuth & Johnson PLLC,550 F.Supp.2d 1060, 1063(D. Minn. 2008)

                                            (same); and Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008)("[the FDCPA] is a

                                            remedial statute that we 'construe . . . broadly, so as to effect its purpose.").

                                                    39.    "Congress intended the Act to be enforced primarily by consumers...." FTC v.

                                            Shaffner, 626 F.2d 32, 35 (7th Cir. 1980). Further, the legislative history shows that Congress

                                            clearly intended that private enforcement actions would be the primary enforcement tool of the

                                            Act. See 123 Cong. Rec. 28112-13 (1977)(remarks of Rep. Annunzio); 1977 U.S.Code Cong. &

                                            Adm. News,supra at 1700.

                                                    40.    The unsophisticated consumer standard should apply to claims under § 1692e

                                            because that standard would vindicate the FDCPA's purpose of protecting consumers of below-

                                            average sophistication and who are thus especially vulnerable to unscrupulous debt collectors.

                                             Turner v. J.V.D.B. & Assocs., Inc., 330 F.3d 991, 997 (7th Cir. 2003). The "unsophisticated

                                            consumer" standard is an objective standard. The question is not whether Plaintiff was deceived

                                            or mislead, but rather whether an unsophisticated consumer would have been misled. See Wright

                                            v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591,600(N.D. Ga. 1982), on reconsideration, 555

                                            F. Supp. 1005 (N.D. Ga. 1983).

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                                                    41.     Plaintiff is seeking statutory damages, a penalty that does not depend on proof that

                                             the recipient ofthe letter was misled. E.g., Tolentino v. Friedman,46 F.3d 645,651 (7th Cir. 1995);
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                                             Harper v. Better Business Services, Inc., 961 F.2d 1561, 1563(11th Cir. 1992); Clomon v. Jackson,

                                             988 F.2d 1314, 1322(2d Cir. 1993); Baker v. G.C. Services Corp., 677 F.2d 775, 780-81 (9th Cir.

                                             1982). All that is required is proof that the statute was violated, although even then it is within the

                                             court's discretion to decide whether and if so, how much to award, up to the $ 1,000 ceiling. E.g.,

                                             Tolentino, supra, 46 F.3d at 651; Clomon,supra, 988 F.2d at 1322.

                                                                  REQUIREMENTS FOR CLASS CERTIFICATION

                                                    42.     Section 2-801 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-801, provides:

                                                                    Prerequisites for the maintenance of a class action. An action
                                                                    may be maintained as a class action in any court of this State and a
                                                                    party may sue or be sued as a representative party of the class only
                                                                    if the court finds:

                                                                           (1)      The class is so numerous that joinder of all members
                                                                                    is impracticable.

                                                                           (2)      There are questions of fact or law common to the
                                                                                    class, which common questions predominate over
                                                                                    any questions affecting only individual members.

                                                                           (3)      The representative parties will fairly and adequately
                                                                                    protect the interest of the class.

                                                                           (4)      The class action is an appropriate method for the fair
                                                                                    and efficient adjudication of the controversy.

                                                    43.     The 1977 Illinois statute was modeled after Rule 23 of the Federal Rules of Civil

                                             Procedure, which governs class certification in the Federal courts. See Fed. R. Civ. P. 23.

                                                    44.     As soon as practicable after the commencement of an action brought as a class

                                             action, the court shall determine by order whether it may be so maintained and describe those

                                             whom the court finds to be members of the class. This order may be conditional and may be

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                                              amended before a decision on the merits. 735 ILCS 5/2-802. Certification of a class is within the

                                             sound discretion ofthe trial court. Haywood v. Superior Bank F.S.B., 244 111.App.3d 326, 328(1st
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                                              Dist. 1993).

                                                     45.     In a large and impersonal society, class actions are often the last barricade of

                                              consumer protection. Generally, individual plaintiffs cannot, will not and ought not be required to

                                              pursue what would often be trivial relief Hoover v. May Dep't Stores Co., 62 III. App. 3d 106,

                                             378 N.E.2d 762 (1978) cites a particularly compelling statement with regard to the philosophy to

                                              be considered in determining the basis for class certification:

                                                             "'To consumerists, the consumer class action is an inviting procedural
                                                             device to cope with frauds causing small damages to large groups. The
                                                             slight loss to the individual, when aggregated in the coffers of the
                                                             wrongdoer, results in gains which are both handsome and tempting. The
                                                             alternatives to the class action -- private suits or governmental actions --
                                                             have been so often found wanting in controlling consumer frauds that not
                                                             even the ardent critics of class actions seriously contend that they are truly
                                                             effective. The consumer class action, when brought by those who have no
                                                             other avenue of legal redress, provides restitution to the injured, and
                                                             deterrence of the wrongdoer.—

                                             Hoover, 62 Ill. App. 3d at 112, quoting Landers, Of Legalized Blackmail & Legalized Theft.'
                                              Consumer Class Actions & the Substance-Procedure Dilemma, 47 So. Cal. L. Rev. 842, 845
                                             (1974).

                                                     46.     Congress expressly recognized the propriety of a class action under the FDCPA by

                                             providing special damage provisions and criteria in 15 U.S.C. §§1692k(a)and(b)for FDCPA class

                                              action cases. As result, numerous FDCPA class actions have been certified. Phillips v. Asset

                                             Acceptance, LLC,736 F.3d 1076 (7th Cir. 2013); McMahon v. LVNV Funding, LLC,807 F.3d 872

                                             (7th Cir. 2015); Vines v. Sands, 188 F.R.D. 302 (N.D. IL 1999); Nielsen v. Dickerson, 1999 WL

                                             350649, 1999 U.S. Dist. LEXIS 8334(N.D. Ill. 1999); Sledge v. Sands, 182 F.R.D. 255 (N.D. Ill.

                                              1998); Shaver v. Trauner, 1998 WL 35333712, 1998 U.S. Dist. LEXIS 19647 (C.D. Ill. 1998)

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                                             report and recommendation adopted, 1998 WL 35333713, 1998 U.S. Dist. LEXIS 19648 (C.D.

                                             Ill. 1998); Carroll v. United Compucred Collections, Inc., 2002 WL 31936511, 2002 U.S. Dist.
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                                             LEXIS 25032(M.D.Tenn. 2002),report and recommendation adopted in part,2003 WL 1903266,

                                             2003 U.S. Dist. LEXIS 5996 (M.D. Tenn. 2003) aff'd, 399 F.3d 620 (6th Cir. 2005); Wahl v.

                                             Midland Credit Mgmt., Inc., 243 F.R.D. 291 (N.D. III. 2007); Keele v. Wexler, 1996 WL 124452,

                                             1996 U.S. Dist. LEXIS 3253(N.D. III. 1996), aff'd, 149 F.3d 589(7th Cir. 1998); Miller v. Wexler

                                             & Wexler, 1998 WL 60798, 1998 U.S. Dist. LEXIS 1382 (N.D. III 1998); Wilborn v. Dun &

                                             Bradstreet, 180 F.R.D. 347(N.D. Ill. 1998); Arango v. GC Servs., LP, 1998 WL 325257, 1998 U.S.

                                             Dist. LEXIS 9124(N.D. Ill. 1998); Avila v. Van Ru Credit Corp., 1995 WL 41425, 1995 U.S. Dist.

                                             LEXIS 461 (N.D. Ill. 1995), aff'd sub nom. Avila v. Rubin, 84 F.3d 222 (7th Cir. 1996); Ramirez v.

                                             Palisades Collection LLC,250 F.R.D. 366(N.D. Ill. 2008); Cotton v. Asset Acceptance, 2008 WL

                                             2561103,2008 U.S. Dist. LEXIS 49042(N.D. Ill. 2008); Gammon v. GC Services, L.P., 162 F.R.D.

                                             313(N.D. Ill. 1995); Zanni v. Lippold, 119 F.R.D. 32, 35(C.D. Ill. 1988); Brewer v. Friedman, 152

                                             F.R.D. 142(N.D. Ill. 1993) earlier opinion, 833 F. Supp. 697(N.D. Ill. 1993).

                                                    47.      As shown below, each requirement of certification can be met.

                                                                                          Numerosity

                                                    48.     Because the language of section 2— 801(1) is taken verbatim from Federal Rule of

                                             Civil Procedure 23(a)(1), federal case law may be considered as exegetic in deciding whether the

                                             class is so numerous that joinder is impracticable under the Illinois statute. Ill. Ann. Stat., ch. 110,

                                             par. 2 -- 801, Historical & Practice Notes, at 90 (Smith-Hurd 1983). Federal cases establish no

                                             bright line. There is no "magic number" below which there cannot be a class, but above which

                                             there can. The number of class members is relevant, not determinative. DeMarco v. Edens 390

                                             F.2d 836(2d Cir. 1968).

                                                    49.     Caselaw further dictates that "[w]here the number of class members is at best fairly

                                             small, courts require demonstration of additional reasons why joinder is impracticable." Wood
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                                            River Area Dev. Corp. v. Germania Federal Say. & Loan Ass'n, 198 III.App.3d 445,450(5th Dist..

                                            1990). These additional factors include:(1)the class members' geographical distribution;(2)the
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                                            ability to identify and locate the class members;(3)the degree of knowledge and sophistication of

                                            the class members and their need for protection; (4) the amount of the claims of the individual

                                            class members; and (5)the nature of the cause of action. Id. at 451
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                                                   50.     The fact that the size of the proposed class has not been exactly determined is not

                                            a fatal defect in the motion; a class action may proceed upon estimates as to the size ofthe proposed

                                            class. Kendler v. Federated Department Stores, Inc., 88 F.R.D. 688 (S.D.N.Y. 1981); Hedges

                                            Enterprises, Inc. v. Continental Group,Inc., 81 F.R.D.461 (E.D. Pa. 1979); Amswiss International

                                            Corp. v. Heublein, Inc., 69 F.R.D. 663 (N.D. Ga. 1975).) "The court may assume sufficient

                                            numerousness where reasonable to do so in absence of a contrary showing by defendant, since

                                            discovery is not essential to most cases in order to reach a class determination... Where the exact

                                            size of the class is unknown, but it is general knowledge or common sense that it is large, the court

                                            will take judicial notice ofthis fact and will assume joinder is impracticable." 2 Newberg on Class

                                            Actions (3d ed. 1995), §7.22.

                                                   51.     The exact number of members ofthe Putative Class are unknown and not available

                                            to Plaintiff at this time. Members of the Putative Class can be objectively identified from records

                                            of Defendants to be gained in discovery. However,Plaintiff alleges, more than 40 members ofthe

                                            Putative Class exist; therefore, numerosity is satisfied. See Miller, An Overview ofFederal Class

                                            Actions: Past, Present, and Future, Federal Judicial Center, at 22 (1977)("If the class has more

                                            than forty people in it, numerosity is satisfied; if the class has less than twenty-five people in it,

                                            numerosity probably is lacking; if the class has between twenty-five and forty, there is no

                                            automatic rule and other factors, *** become relevant.").

                                                                  Predominance of common questions of law or fact

                                                   52.     A common question may be shown when the claims of the individual members of
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                                             the class are based on the common application of a statute or they were aggrieved by the same or

                                             similar misconduct. McCarthy v. La Salle Nat'l Bank & Trust Co., 230 Ill. App. 3d 628, 634, 595
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                                             N.E.2d 149, 153 (1st Dist. 1992).

                                                    53.     Here, Plaintiff alleges that the common questions are whether:

                                                            A.      Caliber Home Loans violated 15 U.S.C. § 1692c(b) when they

                                                                    communicated consumers' information to Caneel Group.

                                                            B.      Caneel Group violated 15 U.S.C. § 1692e(10) when they falsely represented

                                                                    that they were permitted to take certain actions on behalf ofconsumers; that

                                                                    they were unable to take.

                                                            C.      Caneel Group violated 15 U.S.C. § 1692e(10) when they failed to disclose

                                                                    that they are a debt collector.

                                                            D.      Caneel Group violated 15 U.S.C. § 1692g(a) when they failed to provide

                                                                    disclosures set forth in 15 U.S.C. § 1692g(a) in their initial written

                                                                    communication to consumers.

                                                            E.      Measure of damages.

                                                    54.     Where a question of law refers to a standardized conduct of the defendants toward

                                             members ofthe proposed class, a common nucleus of operative facts is typically presented, and the

                                             commonality requirement of Rule 23(a)(2) is usually met. Franklin v. Chicago, 102 F.R.D. 944,

                                             949(N.D. III. 1984).

                                                    55.     The only individual issue is the identification ofthe class members,a matter capable

                                             of ministerial determination from Defendants' records.       Questions readily answerable from

                                             defendants' files do not present an obstacle to class certification. Heastie v. Community Bank, 125

                                             F.R.D. 669 (N.D. Ill. 1989) (court found that common issues predominated where individual

                                             questions of injury and damages could be determined by "merely comparing the contract between
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                                             the consumer and the contractor with the contract between the consumer and Community Bank").

                                                                                Adequacy of representation
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                                                    56.     The rule also requires that the named plaintiff provide fair and adequate protection

                                             for the interests ofthe class. That protection involves two factors:(a) the plaintiffs attorney must

                                             be qualified, experienced, and generally able to conduct the proposed litigation; and (b) the

                                             plaintiff must not have interests antagonistic to those of the class. Rosario v. Livaditis, 963 F.2d

                                             1013, 1018 (7th Cir. 1992); accord, Wetzel v. Liberty Mutual Ins. Co., 508 F.2d 239, 247(3d Cir.

                                             1975); In re Alcoholic Beverages Litigation, 95 F.R.D. 321.

                                                    57.     Plaintiff understands the obligations of a class representative, and has retained

                                             experienced counsel with substantial experience in consumer law.

                                                    58.     The second relevant consideration is whether the interests of Plaintiff are

                                             coincident with the general interests of the class members. Here, Plaintiff and members of the

                                             Putative Class seek money damages as the result of Defendants' unlawful collection practices,

                                             provided for by 15 U.S.C. § 1692. Given the identity of claims between Plaintiff and the class

                                             members, there is no potential for conflicting interests in this action. There is no antagonism

                                             between the interests of Plaintiff and those of the class.

                                                                      Class action is an appropriate method for the
                                                                    fair and efficient adjudication of this controversy

                                                    59.     Efficiency is the primary focus in determining whether the class action is the

                                             superior method for resolving the controversy presented. Eovaldi v. First Nat'l Bank, 57 F.R.D.

                                             545 (N.D. Ill. 1972). The Court is required to determine the best available method for resolving

                                             the controversy in keeping with judicial integrity, convenience, and economy. Scholes v. Stone,

                                             McGuire & Benjamin, 143 F.R.D. 181, 189 (N.D. Ill. 1992); Hurwitz v. R.B. Jones Corp., 76

                                             F.R.D. 149 (W;D.Mo. 1977). It is proper for a court, in deciding the "best" available method, to

                                             consider the ". . . inability of the poor or uninformed to enforce their rights, and the improbability

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                                             that large numbers of class members would possess the initiative to litigate individually." Haynes

                                             v. Logan Furniture Mart, Inc., 503 F.2d 1161, 1165 (7th Cir. 1974).
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                                                    60.      In this case there is no better method available for the adjudication of the claims

                                             which might be brought by each individual debtor. Individual cases are not economically feasible.

                                             The special efficacy of the consumer class action has been noted by the courts and is applicable

                                             to this case.

                                                                    A class action permits a large group of claimants to have their claims
                                                                    adjudicated in a single lawsuit. This is particularly important where,
                                                                    as here, a large number of small and medium sized claimants may
                                                                    be involved. In light of the awesome costs of discovery and trial,
                                                                    many ofthem would not be able to secure relief if class certification
                                                                    were denied....

                                             In re Folding Carton Antitrust Lit., 75 F.R.D. 727, 732(N.D. Ill. 1977).

                                                                    Given the relatively small amount recoverable by each potential
                                                                    litigant, it is unlikely that, absent the class action mechanism, any
                                                                    one individual would pursue his claim, or even be able to retain an
                                                                    attorney willing to bring the action. As Professors Wright, Miller
                                                                    and Kane have discussed, in analyzing consumer protection class
                                                                    actions such as the instant one, 'typically the individual claims are
                                                                    for small amounts, which means that the injured parties would not
                                                                    be able to bear the significant litigation expenses involved in suing
                                                                    a large corporation on an individual basis. These financial barriers
                                                                    may be overcome by permitting the suit to be brought by one or
                                                                    more consumers on behalf of others who are similarly situated.' 7B
                                                                    Wright etal., §1778, at 59;see e.g., Phillips Petroleum Co. v. Shutts,
                                                                    472 U.S. 797, 809 (1985) Klass actions...may permit the plaintiff
                                                                    to pool claims which would be uneconomical to litigate
                                                                    individually.') The public interest in seeing that the rights of
                                                                    consumers are vindicated favors the disposition ofthe instant claims
                                                                    in a class action form.

                                             Lake v. First Nationwide Bank, 156 F.R.D. 615 at 628, 629(ED.Pa 1994).

                                                    61.      Class certification will provide an efficient and appropriate resolution of the

                                             controversy. Zanni v. Lippold, 119 F.R.D. 32(C.D. Ill. 1998).



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                                                                                     CONCLUSION

                                                    WHEREFORE,for the reasons stated herein, the Court should certify Counts I and II of
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                                             this action to proceed on class basis against Defendants.

                                             DATED: July 30, 2021                              Respectfully submitted,

                                                                                               JADWIGA NOWAK

                                                                                               By: /s/Joseph S. Davidson

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